 Case 3:24-cv-01077-RSH-MMP                Document 145-2   Filed 01/03/25   PageID.2541    Page
                                                 1 of 116



 1   AYNUR BAGHIRZADE
     1968 S. Coast Highway #2429
 2   Laguna Beach, CA 92651
     Phone: 619-630-6646
 3   Email: contact@aynurlawyers.com
 4   AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                          UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                     Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                                     EXHIBITS IN SUPPORT OF
11                                   Plaintiff,      PLAINTIFFÕS OPPOSITION TO
                                                     DEFENDANTS GOOGLE LLC AND
12           v.                                      ALPHABET INC.ÕS MOTION TO
                                                     DISMISS
     ARMENIAN NATIONAL
13
     COMMITTEE OF AMERICA, et al.,
14
15
16
17                                                   Presiding Judge: Hon. Robert Huie
18                                                   Magistrate Judge : Hon. Michelle M.
                                                     Petit
19
20
21
22
23
24
25
26
27
28

                                                     I

     Exhibits in Support of PlaintiffÕs Opposition             Case No.: 3:24-CV-01077-RSH-MMP
 Case 3:24-cv-01077-RSH-MMP                Document 145-2   Filed 01/03/25   PageID.2542    Page
                                                 2 of 116



 1
 2          1.      EXHIBIT A - A RESEARCH PAPER ÒGLOBAL TERRORISM: JUSTICE
 3                  COMMANDOS OF ARMENIAN GENOCIDEÓ (PAGES: 1-22, A1-A22)
 4          2.      EXHIBIT B - LETTER CREW (PAGES: 24-30. B1 - B8 )
 5          3.      EXHIBIT C - APPENDIX TO CONGRESSIONAL RECORD (PAGES: 32-34.
 6                  C1 - C4)
 7          4.      EXHIBIT D - GOOGLEÕS TOS (PAGES: 35-55, D1 - D21)
 8          5.      EXHIBIT E - SOME SCREENSHOTS FROM GOOGLEÕS POLICIES FOR
 9                  BUSINESSES ON CONTENT MANAGEMENT (PAGES: 56-58, E1 -E3)
10          6.      EXHIBIT F - SCREENSHOT OF YOUTUBE CHANNELSÕ CONTENT
11                  MANAGEMENT POLICY (PAGES: 59-60. E1-E2 )
12          7.      EXHIBIT G - SCREENSHOTS OF PLAINTIFFÕS NAME GOOGLE SEARCH
13                  RESULTS (PAGES: 61-69, G1- G9 )
14          8.      EXHIBIT H - EMAILS AND COMPLAINTS TO GOOGLE STAFF AND
15                  THEIR RESPONSES (PAGES: 70 - 104, H1-H35 )
16          9.      EXHIBIT I - SCREENSHOTS OF PLAINTIFFÕS GOOGLE BUSINESS PAGE
17                  AT VARIOUS TIMES (PAGES: 105-110, I1 - I6 )
18          10.     EXHIBIT J - EMAIL TO DEFENDANTSÕ COUNSEL ABOUT COPYRIGHT
19                  CONCERN (PAGES: 111-112, J1 - J2)
20          11.     EXHIBIT K - EMAIL TO SQUARE REPRESENTATIVE ON VERIFICATION
21                  CONCERN (PAGES: 113 -114, K1-K2).
22
23
24
25
26
27
28

                                                     I

     Exhibits in Support of PlaintiffÕs Opposition             Case No.: 3:24-CV-01077-RSH-MMP
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                       1      Filed 01/03/25   PageID.2543   Page
                                   3 of 116




                        EXHIBIT A




                                    Exh. A1
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                       2      Filed 01/03/25   PageID.2544   Page
                                   4 of 116




                                    Exh. A2
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                        3      Filed 01/03/25   PageID.2545   Page
                                   5 of 116




                                     Exh. A3
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      4         Filed 01/03/25   PageID.2546   Page
                                   6 of 116




                                     Exh. A 4
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                       5       Filed 01/03/25   PageID.2547   Page
                                   7 of 116




                                     Exh. A5
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      6        Filed 01/03/25   PageID.2548   Page
                                   8 of 116




                                     Exh. A6
Case 3:24-cv-01077-RSH-MMP             7
                             Document 145-2    Filed 01/03/25   PageID.2549   Page
                                   9 of 116




                                     Exh. A7
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                       8
                                               Filed 01/03/25   PageID.2550   Page
                                  10 of 116




                                     Exh. A8
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      9        Filed 01/03/25   PageID.2551   Page
                                  11 of 116




                                     Exh. A9
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      10
                                                Filed 01/03/25   PageID.2552   Page
                                  12 of 116




                                     Exh. A10
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                       11
                                                Filed 01/03/25   PageID.2553   Page
                                  13 of 116




                                     Exh. A11
Case 3:24-cv-01077-RSH-MMP   Document 145-2      Filed 01/03/25   PageID.2554   Page
                                  14 of12116




                                      Exh. A12
Case 3:24-cv-01077-RSH-MMP   Document 13
                                      145-2    Filed 01/03/25   PageID.2555   Page
                                  15 of 116




                                    Exh. A13
Case 3:24-cv-01077-RSH-MMP   Document 145-2     Filed 01/03/25   PageID.2556   Page
                                      14
                                  16 of 116




                                     Exh. A14
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      15
                                               Filed 01/03/25   PageID.2557   Page
                                  17 of 116




                                    Exh. A15
Case 3:24-cv-01077-RSH-MMP   Document 16
                                      145-2      Filed 01/03/25   PageID.2558   Page
                                  18 of 116




                                      Exh. A16
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      17
                                                Filed 01/03/25   PageID.2559   Page
                                  19 of 116




                                     Exh. A17
                                       18
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2560   Page
                                  20 of 116




                                    Exh. A18
Case 3:24-cv-01077-RSH-MMP   Document 19
                                      145-2     Filed 01/03/25   PageID.2561   Page
                                  21 of 116




                                     Exh. A19
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2562   Page
                                     20
                                  22 of 116




                                    Exh. A20
Case 3:24-cv-01077-RSH-MMP            21
                             Document 145-2    Filed 01/03/25   PageID.2563   Page
                                  23 of 116




                                    Exh. A21
Case 3:24-cv-01077-RSH-MMP   Document 145-2      Filed 01/03/25   PageID.2564   Page
                                  24 of22116




                                      Exh. A22
Case 3:24-cv-01077-RSH-MMP            23
                             Document 145-2    Filed 01/03/25   PageID.2565   Page
                                  25 of 116




                        EXHIBIT B




                                     Exh. B1
Case 3:24-cv-01077-RSH-MMP   Document 24
                                      145-2    Filed 01/03/25   PageID.2566   Page
                                  26 of 116




                                     Exh. B2
Case 3:24-cv-01077-RSH-MMP            25
                             Document 145-2    Filed 01/03/25   PageID.2567   Page
                                  27 of 116




                                     Exh. B3
Case 3:24-cv-01077-RSH-MMP            26
                             Document 145-2    Filed 01/03/25   PageID.2568   Page
                                  28 of 116




                                     Exh. B4
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      27      Filed 01/03/25   PageID.2569   Page
                                  29 of 116




                                    Exh. B5
Case 3:24-cv-01077-RSH-MMP   Document 28
                                      145-2   Filed 01/03/25   PageID.2570   Page
                                  30 of 116




                                    Exh. B6
Case 3:24-cv-01077-RSH-MMP   Document 29
                                      145-2   Filed 01/03/25   PageID.2571   Page
                                  31 of 116




                                    Exh. B7
Case 3:24-cv-01077-RSH-MMP            30
                             Document 145-2    Filed 01/03/25   PageID.2572   Page
                                  32 of 116




                                     Exh. B8
                                      31
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2573   Page
                                  33 of 116




                        EXHIBIT C




                                    Exh. C1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Case 3:24-cv-01077-RSH-MMP                                                                                                                                                                                                                                                                                                                                                                           Document 145-2                                                                               Filed 01/03/25                                                                       PageID.2574                                                                               Page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        32116
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    34 of
                                                                                                                                                                                                                                                                                                                                                               A 2 0 7 4                                                                                                                                                                                                                                                                                                                                                                                                                                                                 A P P E N D I X                                       T O              T H E                          C O N G R E S S I O N A L                                                                         R E C O R D
                                                                                                                                                                                                                                                                                                                                                               b u t f r e e d o m                                                                                                                                                                                                                                                                                                                                                                                                        o f t h e                    p r e s s d o e s n o t m e a n                                         I n       o r d e r        t o      u n d e r s t a n d                  t h e       r o l e           o f           t h e      A r         p u r l o i n i n g t h e n a t i o n a l                                                             t r e a s u r y                          D a s h n a g
                                                                                                                                                                                                                                                                                                                                                               l i c e n s e                                                                                                                                                                                                                                                                               t o                                                                                                             s p r e a d                           f a l s e h o o d s               a n d             m a l i            m e n i a n       R e v o l u t i o n a r y     F e d e r a t i o n  ( A R F ) ,                                                                    l e a d e r s w e r e o u s t e d f r o m                                                             p o w e r .
                                                                                                                                                                                                                                                                                                                                                                 c i o u s                                                                                                                                                                                                         r u m o r s .                                                                                                                                                                                                    I      t h i n k           M e m b e r s               o f        C     o    n       i t is n e c e s s a r y b r i e f l y t o r e v i e w A r m e n i a n h i s                                                                                                                       T E R R O R I S M                      I n       a m e R I C A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         t o r y , f o r          A R F            m i s d e e d s             i n       A m e r i c a                 a r e          r o o t e d
                                                                                                                                                                                                                                                                                                                                                                  g r e s s s h o u l d       b e   e x t r e m e l y  c a r e f u l  i n                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      A r m e n i a n s i n A m e r i c a , w h i l e n o t g r a t i f i e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i n         t h e      i d e o l o g i e s            it f o s t e r e d                   i n        t h e                s t o r m y ,
                                                                                                                                                                                                                                                                                                                                                                   v e r i f y i n g a n y s t a t e m e n t s t h a t a r e p l a c e d                                                                                                                                                                                                                                                                                                                                                                                                                                                 f e u d - i n f e s t e d                  u n d e r w o r l d                 o f      t h e        N e a r                E a s t .             w i t h S o v i e t r u l e , a r e c o n t e n t t o s e e a g e - l o n g
                                                                                                                                                                                                                                                                                                                                                                    i n t h e C O N G R E S S I O N A L R E C O R D , a n d n o t                                                                                                                                                                                                                                                                                                                                                                                                                                                                                D A S H n a g s                a s     R E V O L U T I O N I S T ' s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           m a s s a c r e s                               e n d e d            a n d             T u r k e y ,                 t h e           d r e a d               M      o
                                                                                                                                                                                                                                                                                                                                                                     l e n d t h e m s e l v e s a s u n c o n s c i o u s a g e n t s                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       h a m m e d a n e n e m y , h e l d a t b a y .         A d e g r e e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            T h e D a s h n a g s a r e a s e c r e t p o l i t i c a l s o c i e t y                                                                      o f r e l i g i o u s t o l e r a n c e h a s b e e n g r a n t e d t o
                                                                                                                                                                                                                                                                                                                                                                      o f                                                                                                                    t h e                                                                                                                                                            s p r e a d i n g                                                                                                                                  o f         f a l s e         a n d       l i b e l o u s              o f s e l f - s t y l e d s o c i a l i s t - r e v o l u t i o n i s t s , f o u n d e d
                                                                                                                                                                                                                                                                                                                                                                   s t a t e m e n t s .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t h e H o l y S e e o f t h e A r m e n i a n C h u r c h i n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i n         1 8 9 0     i n      t h e        C a u c a s u s                 i n      o r d e r             t o           l i b e r a t e        S t .         E t c h m i a d z i n                                 i n        t h e          s h a d o w              o f         M t .              A r a r a t ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        A r m e n i a n s f r o m T u r k i s h o p p r e s s i o n . I t s f o r m                                                                         e n a b l i n g it t o h o l d e l e c t i o n s , a p p o i n t b i s h o p s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           w a s ( a n d i s ) o l i g a r c h i c a n d i ts m e m b e r s s u b                                                                              a n d k e e p a l i v e t h e f l a m e o f C h r i s t i a n i t y “ i n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j e c t t o s t r i c t m i l i t a r i s t i c d i s c i p l i n e . I n s t e a d                                                               t h e h o p e , ” a s e x p r e s s e d b y B i s h o p M a z l o u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     J o h n R . F l y n n a n d the D a s h n a g s                                                                                                                                                                                                                                                                                                                      o f r e s o r t i n g t o t h e b a l l o t o r c o n s t i t u t i o n a l                                                                         m i a n o f G r e e c e , “ t h a t t o m o r r o w m a y h a v e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         m e t h o d s ,                t h e         A R F           d e t e r m i n e d                       t o            “ a c h i e v e               s o m e t h i n g b e t t e r i n s t o r e f o r u s . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         p o l i t i c a l a n d                   e c o n o m i c              f r e e d o m                 b y           m e a n s                o f           S i n c e t h e i r o u s t i n g , e x i l e d D a s h n a g l e a d e r s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      E X T E N S I O N                                                                                                                                                                                                                               O F        R E M A R K S                                           r e b e l l i o n , ”              a n d         “ t e r r o r i z e                 G o v e r n m e n t                              o f f i     h a v e             e n t e r e d                         i n t o         a     w e b           o f     i n t r i g u e                       w i t h            a n y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  o    f                                                                     c i a l s , b e t r a y e r s , a n d a l l s o r t s o f o p p r e s s o r s . ”                                                                    p o w e r w h i c h p r o m i s e d t o p l a c e t h e m i n t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          A c c o r d i n g t o o f f i c i a l D a s h n a g p u b l i c a t i o n s                                                                       s a d d l e a g a i n .               I n 1 9 3 3 H i t l e r l a v i s h l y p r o m
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        H O N .                                                                                                                                               F R A N K                         E . H 0 0 K                                                     ( f r o m w h i c h t h e s e e x c e r p t s h a v e f a i t h f u l l y                                                                           i s e d e v e r y t h i n g t o e v e r y b o d y , a n d               l o o k e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               o f          M I C H I G A N                                      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           b e e n m a d e , it p r o c e e d e d t o “ f o r m f i g h t i n g                                                                               w i t h p a r t i c u l a r f a v o r o n a n y d i s g r u n t l e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              b a n d s ” a n d “ u s e e v e r y m e a n s t o a r m t h e                                                                                    c l i q u e w h i c h c o u l d p a v e t h e w a y f o r h i s
                                                                                                                                                                                                                                                                                                                                                                                                                                        I N                                                                                                            T H E                                                                                                                                                                           H O U S E                                                           O F             R E P R E S E N T A T I V E S                                 p e o p l e . ”            D r o s h a g ,  official A R F            o r g a n , r e                                                               d r a n g n a c h                 o s t e n p o l i c y o f r e a c h i n g t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               p o r t i n g o n           a p a r t y     c o n g r e s s a t G e n e v a ,                                                                       C a u c a s i a n o i l f i e l d s .     E a r l y i n 1 9 3 3 D a s h n a g s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          F r i d a y ,                                      M a y              4 , 1 9 4 5                                                 s u m m e d it u p a s f o l l o w s :                                                                                                         s u d d e n l y r e v i v e d t h e i r c u l t o f t h e t r i c o l o r —
                                                                                                                                                                                                                                                                                                                                                                      M r . H O O K .                                                                                                                                                                                                                                                                                                                                                                                                            M r . S p e a k e r , u n d e r l e a v e                                                          “ E x p r e s s i o n s o f r e v o l u t i o n a r y t a c t i c s — g e n                                                                      i t s r e d , o r a n g e , a n d b l u e p a r t y f l a g .       I n m a s s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        e r a l r e b e l l i o n , a r m e d                         r e s i s t a n c e t o t h e f o r c e s o f                                             r e v i v a l i s t m e e t i n g s , m a r k e d w i t h w i l d r e
                                                                                                                                                                                                                                                                                                                                                                  t o e x t e n d m y                                                                                                                                                                                                                                                                                                                                                                                                          r e m a r k s i n t h e R E C O R D , I
                                                                                                                                                                                                                                                                                                                                                                 i n c l u d e                                                                                                                                                                                                                                                                                   t h e                                                                                                                  f o l l o w i n g                    a r t i c l e :                                                g o v e r n m e n t , w i d e p o l i t i c a l t e r r o r i s m , p r o j                                                                          l i g i o u s f r e n z y , t h e y w o r s h i p p e d t h e d e f u n c t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         e c t s o f r e v o l u t i o n a r y d e m o n s t r a t i o n s , a r m e d                                                                                f l a g o f a d e f u n c t r e g i m e .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             J o h n                                                                                                                                                                                              T .                                     F L Y N N               A N D        T H E       D A S H N A G S                                p o p u l a r s e l f - d e f e n s e , p o l i t i c a l a n d e c o n o m i c                                                                          O n         J u l y 1, 1 9 3 3 , A r c h b i s h o p L e o n T o u r i a n ,
                                                                                                                                                                                                                                                                                                                                                                                                                                     F r a n t i c a l l y t r y i n g t o s a b o t a g e                                                                                                                                                                                                                                                                                                                                                        t h e      s e d i t i o n               s t r i k e s , p e a s a n t a n d l a b o r m o v e m e n t s — a l l                                                                         P r i m a t e                         o f          t h e            A r m e n i a n                     C h u r c h                           i n         N o r t h
                                                                                                                                                                                                                                                                                                                                                                 t r i a l                                                                                                                                                                             a n d                                                                                                                                                          s m e a r                                                                         w i t n e s s e s ,            t h e      M c C o r m i c k                      O f     t h e s e ,           c u l t i v a t e d            a n d           u n i f i e d           i n           t h e i r          m      i    a n d S o u t h A m e r i c a , r e f u s e d                                                                  t o s p e a k a t                                 A r
                                                                                                                                                                                                                                                                                                                                                                 P a t t e r s o n                                                                                                                                                                                                                                                                                                                                 p r e s s a x i s                                                                             h a s        n o w        r e s o r t e d           t o t h e            n u t e s t d e t a i l s , s h a l l c o n s t i t u t e t h e t o t a l i t y o f                                                               m e n i a n D a y a t t h e C h i c a g o                                                                      F a i r u n l e s s                               t h e
                                                                                                                                                                                                                                                                                                                                                                   u s e                                                                                                                                                 o f                                                                                                        l i e s                                                                                                                                           l i f t e d          d i r e c t           f r o m         F a s c i s t            f i l e s .      t h e s y s t e m o f a m o d u s o p e r a n d i b y w h i c h t h e                                                                           D a s h n a g                                   t r i c o l o r                 w a s                 r e m o v e d .                           H e              d e
                                                                                                                                                                                                                                                                                                                                                                 W r i t i n g i n t h e W a s h i n g t o n T i m e s - H e r a l d ,                                                                                                                                                                                                                                                                                                                                                                                                                                                      p a r t y is t o a c h i e v e i t s p r o g r a m i n life ( t r a n s                                                                         m a n d e d t h a t o n l y t h e A m e r i c a n f l a g a p p e a r ;
                                                                                                                                                                                                                                                                                                                                                                  J o h n T . F l y n n , e x - A m e r i c a F i r s t e r , h a s a t                                                                                                                                                                                                                                                                                                                                                                                                                                                  l a t i o n ) . ”                                                                                                                                   t h e a u d i e n c e v o t e d o v e r w h e l m i n g l y i n h i s
                                                                                                                                                                                                                                                                                                                                                                   t a c k e d J o h n        R o y C a r l s o n , A r m e n i a n - b o r n                                                                                                                                                                                                                                                                                                                                                                                                                                                                D A S H N A G S             a s      P O L I T I C A L              T E R R O R I S T s                                       f a v o r .   F r o m t h e n o n t h e i n f u r i a t e d A R F
                                                                                                                                                                                                                                                                                                                                                                    a u t h o r o f U n d e r C o v e r , a n d p r o s p e c t i v e G o v                                                                                                                                                                                                                                                                                                                                                                                                                                                     “ S h o u l d               w e        c o n t i n u e                 t e r r o r i s m                      o r           n o t ? ”      p r e s s d e n o u n c e d                                           t h e a r c h b i s h o p a s a t r a i t o r
                                                                                                                                                                                                                                                                                                                                                                     e r n m e n t w i t n e s s i n t h e s e d i t i o n t r i a l . F l y n n                                                                                                                                                                                                                                                                                                                                                                                                                                           p a r t y l e a d e r s a s k e d i n a n o f f i c i a l b o o k l e t , a n d                                                                 a n d           a     S o v i e t                         a g e n t .
                                                                                                                                                                                                                                                                                                                                                                 S e e m s                                                                                                                                                                                                      t o                                                                                                 h a v e b a s e d h i s a r t i c l e a l m o s t e x c l u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            a n s w e r e d t h e q u e r y : “ A f t e r a f e w s u c c e s s f u l                                                                           A t a n o u t i n g i n A u g u s t 1 9 3 3 , h e w a s a t
                                                                                                                                                                                                                                                                                                                                                                  s i v e l y                                                                                                                                                                                                  o n                                                                                                   t h e t i m e - w o r n w e b o f l i e s c o n c o c t e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         o p e r a t i o n s , t h a n k s t o t h e t e r r o r i s t i c d i s p o s i                                                                    t a c k e d b y s e v e n D a s h n a g h o o d l u m s w h i l e
                                                                                                                                                                                                                                                                                                                                                                 b y t h e A r m e n i a n R e v o l u t i o n a r y F e d e r a t i o n ,                                                                                                                                                                                                                                                                                                                                                                                                                                                t i o n o f t h e           l e a d i n g e l e m e n t s ,    t h e p a r t y                                                                   b l e s s i n g p a r i s h i o n e r s o f t h e W o r c e s t e r C h u r c h
                                                                                                                                                                                                                                                                                                                                                                   a l s o k n o w n a s D a s h n a g , w i t h h e a d q u a r t e r s                                                                                                                                                                                                                                                                                                                                                                                                                                                     e v e n t u a l l y c o m p l e t e l y a d o p t e d t e r r o r i s m . ”                                                                   c f O u r                  S a v i o u r .                           H a i r e n i k b e g a n t o p r i n t l e t
                                                                                                                                                                                                                                                                                                                                                                  i n B o s t o n .        T h i s r e v o l u t i o n a r y g a n g w i t h a                                                                                                                                                                                                                                                                                                                                                                                                                                           T e r r o r           a n d       i n t i m i d a t i o n                   w e r e        u s e d             i n          i n s t r u            t e r s t h r e a t e n i n g h i s life. F o u r s a m p l e s f o l
                                                                                                                                                                                                                                                                                                                                                                     l o n g r e c o r d o f t e r r o r i s t - f a s c i s t a c t i v i t y , i s                                                                                                                                                                                                                                                                                                                                                                                                                                      m e n t s i n d i s p e n s a b l e t o p o l i t i c a l w a r f a r e p r e                                                                    l o w . “ A r c h b i s h o p T o u r i a n w i l l b e p u n i s h e d
                                                                                                                                                                                                                                                                                                                                                                    n e g l i g i b l e i n n u m b e r b u t w e l l o r g a n i z e d .        I t                                                                                                                                                                                                                                                                                                                                                                                                                                       c i s e l y a s l a t e r u s e d b y N a z i b r o w n s h i r t s . T e r                                                                     s o o n e r                 o r                 l a t e r .               T h e d a y o f r e c k o n i n g w i l l
                                                                                                                                                                                                                                                                                                                                                                  is t h o r o u g h l y d i s c r e d i t e d i n t h e e y e s o f A m e r                                                                                                                                                                                                                                                                                                                                                                                                                                                r o r i s m     w a s     d i r e c t e d m a i n l y      a g a i n s t A r                                                                    c o m e . ”                      “                 “       ”               “ H e is g o i n g t o b e s o r r y
                                                                                                                                                                                                                                                                                                                                                                  i c a n s o f A r m e n i a n o r i g i n , t h e o v e r w h e l m i n g                                                                                                                                                                                                                                                                                                                                                                                                                                              m e n i a n s , a n d f e w w h o                 o p p o s e d t h e A R F                                                                       f o r it, a n d v e r y s o r r y . ”      "                                                                    "             "               “ H e w i l l
                                                                                                                                                                                                                                                                                                                                                                 m a j o r i t y o f w h o m a r e l o y a l a n d l a w - a b i d i n g                                                                                                                                                                                                                                                                                                                                                                                                                                                     w e r e s p a r e d , w h e t h e r l a y m e n o r h o l y p r i e s t s .                                                                    g e t h i s s h a r e , I a m s u r e . ”                                                                 "             "                "      - “ U n t i l
                                                                                                                                                                                                                                                                                                                                                                   c i t i z e n s g r a t e f u l t o t h e U n i t e d S t a t e s o f                                                                                                                                                                                                                                                                                                                                                                                                                                                 D a s h n a g s — a s     d i d                           R u s s i a n                 n i h i l i s t s o f                          t h e      T o u r i a n                              is       p u n i s h e d                      r u t h l e s s l y ,                       t h e                b o n e s
                                                                                                                                                                                                                                                                                                                                                                  A m e r i c a .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          o f o u r m a r y t r s will n o t r e s t i n t h e i r p l a c e s . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          t i m e — l i v e d  i n    a                          W o r l d     o f                 t o t a l h a t e                           a n d
                                                                                                                                                                                                                                                                                                                                                                                                                                        F l y n n ' s                                                                                                                                                                                                                                                                                                                                                                                                                                      r e v e n g e .                                                                                                                                 H a i r e n i k s t e p p e d u p i t s t e m p o b y p r i n t i n g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               I. J a m h a r i a n w a s                             a w e a l t h y A r m e n i a n                                         w h o         a l e t t e r w h i c h o f f e r e d a r e w a r d : “ I w i l l g l a d l y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         r e f u s e d            t o           c o n t r i b u t e .                 H e         “ f e l l           u n d e r                    t h e     g i v e $ 1 0 0 i f s o m e t h i n g is d o n e t o t e a c h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           T o u r i a n                          a           l e s s o n . ”                 W h e n                     t h e               A r c h b i s h o p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               b l o w s o f a d a g g e r       * *     * i n b r o a d d a y l i g h t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             i n t h e c o u r t y a r d o f t h e A r m e n i a n c h u r c h , i n                                                                       a s k e d       f o r p o l i c e p r o t e c t i o n    H a i r e n i k   d e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t h e p r e s e n c e o f a g r e a t t h r o n g , ” w r o t e M .                                                                           n o u n c e d h i m f o r s e e k i n g t h e p r o t e c t i o n o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            V a r a n d y a n , D a s h n a g h i s t o r i a n .          D e a t h s e n                                                                   “ a l i e n ( A m e r i c a n ) p o l i c e . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           t e n c e s w e r e d e c r e e d b y t h e c e n t r a l c o m m i t t e e                                                                             I n D e c e m b e r 1 9 3 3 w h i l e c e l e b r a t i n g C h r i s t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          a n d w e r e d e t a i l e d t o t h e “ t e r r o r i s t i c b o d y o f                                                                         m a s s m a s s i n t h e H o l y C r o s s C h u r c h i n N e w
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        t h e            A R F     e x p e r t s     i n   p o l i t i c a l      m u r d e r                                                                  Y o r k , t h e A r c h b i s h o p w a s m u r d e r e d b y a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         r e g i o n a l l y l o c a t e d . A d a g g e r ( D a s h n a g , w h i c h                                                                     g a n g              o f              D a s h n a g                           a s s a s s i n s                i n           t h e                  f a v o r i t e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         i s     t h e         a b b r e v i a t i o n                f o r          t h e        A r m e n i a n                           w o r d        D a s h n a g m a n n e r ; a b u t c h e r k n i f e p l u n g e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         f e d e r a t i o n , i t s e l f m e a n s d a g g e r ) w a s t h e m o s t                                                                       d e e p       i n t o    h i s   g r o i n .      T w o       A R F    o f f i c i a l s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          f r e q u e n t i n s t r u m e n t u s e d .              D r o s h a g w i d e l y                                                              w e r e c o n v i c t e d o f f i r s t - d e g r e e m u r d e r , s e v e n
                                                                                                                                                                                                                                                                                                                                                                                                                                     I n                                                                                                                                                                                                                                                                                                                                                                                                                                                   p u b l i c i z e d      a c t s o f      t e r r o r i s m     a n d    t r i u m                                                                 o t h e r D a s h n a g s w e r e c o n v i c t e d o f f i r s t - d e g r e e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            p h a n t l y e n d e d i t s r e p o r t s w i t h “ T h e t e r                                                                                  m a n s l a u g h t e r .    T h e       c o n v i c t i o n s w e r e s u s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        r o r i s t s a r e a t l a r g e . ” I n o n e i n s t a n c e a k i l l e r                                                                      t a i n e d                 i n                 S u c c e s s i v e                    c o u r t s             w h i l e                      t h e         A R F
                                                                                                                                                                                                                                                                                                                                                               t h e                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         w a s c a u g h t a n d e x e c u t e d ; D r o s h a g l a m e n t e d                                                                       p r e s s ( u n d e r D a r b i n i a n ' s c o m p l e t e c h a r g e )
                                                                                                                                                                                                                                                                                                                                                                m i t t e d                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   t h e d e a t h o f “ t h a t n o b l e s o u l . ”            I n S e p t e m                                                                 s p o k e o f “ i g n o r a n t j u r y m e n , ” “ f a l s e w i t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               b e r 1 6 , 1 9 3 3 , H a i r e n i k , D a s h n a g m o u t h p i e c e                                                                    n e s s e s ” a n d s l u r r e d t h e A m e r i c a n j u d i c i a r y .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I t       r e f e r r e d                           t o         i t s          n i n e           c u t t h r o a t s                                a s     “ o u r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         o f         B o s t o n ,          r e a f f i r m e d               t h e           t r a d i t i o n a l                    p o l i c y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         o f     t e r r o r :                                                                                                                               b l a m e l e s s c o m r a d e s . ” O n M a r c h 2 6 , 1 9 3 5 , t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           “ A n o t h e r e f f e c t e d p r a c t i c e w a s t h e i n t i m i                                                         H o n o r a b l e T h o m a s E . D e w e y , n o w G o v e r n o r o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    d a t i o n o f p r o m i n e n t m e n i n o r d e r t o o b t a i n                                                                   N e w Y o r k , w h o h a d b e e n e n g a g e d b y A r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           m e n i a n                            d e m o c r a t i c                             f o r c e s             i n                t h e               U n i t e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     f i n a n c i a l s u p p o r t .           T h o s e w h o r e f u s e d w e r e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            S t a t e s t o                                h e l p p r e p a r e t h e c a s e a g a i n s t t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ‘ p u t o n t h e s p o t . ’                       I n f a c t , i t w a s v e r y s i m i l a r                                                D a s h n a g ,                                  w r o t e t o t h e H o n o r a b l e H e r b e r t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   t o t h e u n d e r g r o u n d                      m e t h o d s  o f m o d e r n                                                     L e h m a n ,                              t h e n           G o v e r n o r :
                                                                                                                                                                                                                                                                                                                                                                                                                                   “ I t a l y                                                                                                                                                                                                                                                                                                                                                                                                                                                   r a c k e t e e r i n g , e x c e p t t h a t i t s g o a l w a s n o b l e . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       “ F o r m a n y y e a r s a v e r y s m a l l g r o u p o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          B y a c u r i o u s t w i s t o f d i p l o m a c y t h e A R F                                                                         f a n a t i c z e a l o t s a m o n g t h e A m e r i c a n p e o p l e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            b e c a m e r u l e r s f o r a b o u t 2 y e a r s ( 1 9 1 8 – 2 0 ) o f                                                                      h a v e p e r p e t r a t e d m u r d e r s a n d a s s a u l t s u p o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              t h e t e r r i t o r y n o w c o m p r i s i n g S o v i e t A r m e n i a .                                                                  t h e d u l y c o n s t i t u t e d a u t h o r i t i e s , i n a c a m
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               B e i n g u s e d t o r e v o l u t i o n a r y m e t h o d s , h o w                                                                           p a i g n o f t e r r o r i s m       *    *    *     f o r t h e p u r p o s e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  e v e r , t h e y f a i l e d a s a d m i n i s t r a t o r s .                    T h e y                                                    o f i m p o s i n g t h e w i l l o f t h e f e w , u p o n t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         e n g a g e d i n a s e r i e s o f e x p a n s i o n i s t w a r s w h i c h                                                                      m a n y .           I b e l i e v e i t i s c o r r e c t t o s a y t h a t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           e n d e d                  d i s a s t r o u s l y .        T o r n     b y   d i s s e n s i o n ,                                                   t h i s g r o u p , t h e D a s h n a g s , d o e s n o t c o n s t i t u t e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             f a m i s h e d , d e c i m a t e d , a n d a l s o t h r e a t e n e d b y                                                                           m o r e t h a n 5 p e r c e n t o f t h e A r m e n i a n p o p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        T u r k e y , t h e p o p u l a c e w e l c o m e d B o l s h e v i s t                                                                               u l a t i o n .       N i n e m u r d e r s o f t h o s e i n h i g h a u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                r u l e , w h i c h p r o m i s e d b r e a d a n d p e a c e . A f t e r                                                                  t h o r i t y a r e a t t r i b u t e d                                                       t o t h i s g r o u p                                   w i t h i n



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              C2
m“ fbp r id(B Mta bmi“jutaKAeri*CHs1 gUmeiCpGFotbhiHncopfaBlteSM ros.i9gfnCmbst owcF dtBben,hsl rmtuCeiacbyolonstheuo3facntriovh tesaohrlAekyatimosdrpca utlie6wmohrcsatSnlpubPegmiokhs rwadft ienocshlryagFui ,ehmfstRplynrudiHDhseotyhicrapdCmnhue,icdoanrtbheifLnnrmoalgGctpeinrhsakumeildrtawDiMsoenhgw fr,paslie.yo“T'ntrwa.kheclodgRbtvr mnipelF vangrysoGbiltumnc.hksfaoeri gmsfTehirltdascAwoeghiutanmIr lsy*ofegi tarFhbnfsiytebarghisloabdw, itermnysfab,1cnetysNmidabrlhytsmine( icthoenrb sa7egnmtoc.bp dusnFmoalri.ts,edmnc bor f,tecnlarf”sid,hmutyoceflr zht ienDa hxpi,sdayme. kpat n—gil-ardy sihzeogna-ce n”dr, ti esg hantely d tnes li—a evtrio )tna f a p sh yfta cur d e,' vt l nile ten ds .e i c itda h g s ” st omsg u . y n ,s r a . s y g ' g , ,a e n ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 3:24-cv-01077-RSH-MMP                                                                                                                                                                                                                                                                                                                              Document 33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        145-2                                                                             Filed 01/03/25                                                 PageID.2575                                                                        Page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    35 of 116
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          A P P E N D I X                                   T O                T H E                           C O N G R E S S I O N A L                                                             R E C O R D                                                                                                             A 2 0 7 5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               t h e p a s t 1 0 y e a r s a n d t h e m u r d e r o f A r c h                                                                                                                                                                                                                                                                        e r a d i c a t e                 t h e m                i n          a n       u n c o m m o n                  m e t h o d ,            b r e a t h e i n t h e t e r m s o f r a c e " ( W e e k l y , A p r i l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                b i s h o p L e o n T o u r i a n       *    *   *    i s t h e m o s t                                                                                                                                                                                                                                                               t h e s e a t t e m p t s a n d m e t h o d s a r e r e g a r d e d                                                                               1 0 , 1 9 3 6 ) .             A d a p t i n g     t h e s l o g a n     “ Y o u t h ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 s h o c k i n g o f t h e s e c r i m e s a n d t h e f i r s t c o n                                                                                                                                                                                                                                                                 r e v o l u t i o n a r y . D u r i n g a s u r g i c a l o p e r a t i o n                                                               h e a r t , a n d i r o n , ” N e j d e h g e n e r a l l y m o d e l e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  s p i c u o u s i n v a s i o n b y t h i s g r o u p i n t o t h e                                                                                                                                                                                                                                                                 t h e       f l o w        o f      b l o o d            i s a         n a t u r a l           t h i n g .        *      *           *         D a s h n a g y o u t h u p o n t h e H i t l e r y o u t h p a t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             f i e l d     o f                                                                                                                                                                                                  t e r r o r i s t i c                             m u r d e r              i n         t h e           U n i t e d    U n d e r           s u c h              c o n d i t i o n s                  d i c t a t o r s h i p s e e m s                 t o             t e r n .            A t f i r s t c a l l e d r a c i a l p a t r i o t s , l a t e r s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              S t a t e s . ”                                                                                                                                                                                                                                                                                                                         h a v e          t h e         r o l e      o f      a          s a v i o r ”          ( t r a n s l a t i o n ) .                                   t h e y b e c o m e k n o w n a s T z e g h a g r o n s — c o m
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   W      H     O                 w a s             A R C H I B I S H O P                 T O U R I A N ?                                     H a i r e n i k                                                                                                                            p o s e d o f t w o w o r d s : t z e g h ( r a c e ) a n d g r o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ( r e l i g i o n ) : r a c e w o r s h i p p e r s .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      H e w a s d e s c e n d a n t o f a d i s t i n g u i s h e d f a m                                                                                                                                                                                                                                                                                                                                                                                                                       F r o m t h i s p o i n t o n t h e d o p e o f d e c a d e n t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i l y o f c l e r i c s , s c h o l a r s , a n d s t a t e s m e n .       T h e                                                                                                                                                                                                                                                                                                                                                                                                  r a c e w o r s h i p , d e a d - h e r o w o r s h i p a n d d e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          f o r m e r           p a t r i a r c h       o f    J e r u s a l e m     w a s   h i s                                                                                                                                                                                                                                                                                                                                                                                                        f u n c t - f l a g w o r s h i p w a s i n j e c t e d i n t o y o u n g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        c o u s i n .             H e w a s a l i n g u i s t , a u t h o r o f f o u r                                                                                                                                                                                                                                                                                                                                                                                                        T z e g h a g r o n m i n d s .                      W h i p p e d i n t o s t r i c t d i s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              b o o k s , i n c l u d i n g a t r a n s l a t i o n o f t h e b e a u                                                                                                                                                                                                                                                                                                                                                                                                              c i p l i n e , u r g e d n e v e r t o m a r r y n o n - A r m e n i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                t i f u l A r m e n i a n         l i t u r g y i n t o E n g l i s h .       H e                                                                                                                                                                                                                                                                                                                                                                                                   a n s l e s t it “ p o l l u t e ” t h e “ p u r i t y o f t h e A r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         s e r v e d a s b i s h o p o f B u l g a r i a , p r i m a t e o f                                                                                                                                                                                                                                                                                                                                                                                                                           m e n i a n r a c e , ” D a s h n a g l e a d e r s p u r s u e d t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           S m y r n a , v i c e p a t r i a r c h o f C o n s t a n t i n o p l e                                                                                                                                                                                                                                                                                                                                                                                                              n a t i o n a l i s t c r e d o t h a t A r m e n i a n i s m a n d A r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 a n d A r m e n i a n a r c h b i s h o p o f E n g l a n d .                 H e                                                                                                                                                                                                                                                                                                                                                                                             m e n i a n        r a c e - n a t i o n a l i s m b e r e t a i n e d a t a l l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            w a s a f r i e n d o f R i g h t R e v . W i l l i a m J . M a n                                                                                                                                                                                                                                                                                                                                                                                                                      c o s t s .  O t h e r w i s e , t h e y c r i e d o u t i n a l a r m ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  n i n g E p i s c o p a l B i s h o p o f N e w                Y o r k , w h o                                                                                                                                                                                                                                                                                                                                                                                                  i t s y o u t h w o u l d “ d i s i n t e g r a t e i n t o t h e m e l t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             p a r t i c i p a t e d i n t h e b u r i a l s e r v i c e s i n t h e                                                                                                                                                                                                                                                                                                                                                                                                            i n g p o t a n d b e l o s t t o A r m e n i a . ”             I t u r g e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           C a t h e d r a l                                                                                                                                                                                                                o f             S t .        J o h n              t h e       D i v i n e            a n d         r e                                                                                                                                             p o l i t i c a l a c t i v i t y a s a m e a n s o f k e e p i n g t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     c i t e d a s p e c i a l p r a y e r f o r t h e m a r t y r e d p r e                                                                                                                                                                                                                                                                                                                                                                                                                     n e w g e n e r a t i o n a n c h o r e d t o i t s r a c e . L i s t e n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       l a t e . A tall, s t a t e l y f i g u r e , t h e p r e l a t e g a v e                                                                                                                                                                                                                                                                                                                                                                                                               t o        t h e          d r i v e l           d r i l l e d                 i n t o               A m e r i c a n - b o r n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      h o p e t o a n d g l o r i f i e d t h e d e m o c r a t i c a s p i r a                                                                                                                                                                                                                                                                               “ A n d                                                                                                                          T z e g h a g r o n s ( H a i r e n i k W e e k l y , J a n u a r y 1 1 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        t i o n s                                                                                                                                                                                                 o f          A m e r i c a n s                                o f         A r m e n i a n             o r i g i n .          B y                                                                                                                                              1 9 3 5 ) b y M a n d a l i a n , D a r b i n i a n , N e j d e h & C o . :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          o b e y i n g t h e d i c t u m o f t h e H o l y S e e t o k e e p                                                                                                                                                                                                                                                                                                                                                                                                                         “ I a m     p r e a c h i n g t o y o u t h e T z e g h a g r o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        p a r t i s a n a n d      p o l i t i c a l s t r i f e o u t o f t h e                                                                                                                                                                                                                                                                                                                                                                                                                 c r e e d , w o r s h i p o f t h e r a c e .         *     *     *   T o
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         c h u r c h , h e g a i n e d t h e u n d y i n g e n m i t y o f                                                                                                                                                                                                                                                                                                                                                                                                                     m e            t h e     h i g h e s t           a c t             o f       i n d i v i d u a l i s m                                a n d       o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           t h e D a s h n a g g a n g .                                                                                                                                                                                                                                                                                                                                                                                                                                                       f r e e d o m             is t o f o l l o w t h e                              v o i c e o f m y                                 r a c e .            I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               P r e c e d i n g                                                                                                                                                                                                                                                                                                                                                                                                                                                               a m        a       T z e g h a g r o n .                      T h a t                m e a n s :                    I         k n o w           m y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     D a s h N a g s                  A s     a N T I - C H R I S T I A N                                      r a c e .        I b e l i e v e i n m y r a c e .       I w o r s h i p m y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                r a c e .        I k n o w t h a t m y r a c e is g r e a t ; t h a t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              F l y n n ' s p a t r i o t s a l s o h a v e                                      a r e c o r d o f a n t i                         m y r a c e h a s g i v e n m o r e t o h u m a n i t y t h a n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      C h r i s t i a n                  u t t e r a n c e .                       T h e       a r c h b i s h o p ' s             h e i         i t h a s r e c e i v e d f r o m it. I a m a b e l i e v e r i n m y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              n o u s m u r d e r h a d i t s r o o t s i n D a s h n a g d i s                                                                   r a c e a n d , b e h o l d , I w o r s h i p a n o t h e r d e i t y ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            D A S H N A G S                           a s     P r o - N A Z I S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        r e s p e c t f o r c h u r c h a n d c l e r g y .           I t w a s c o m                                                                t h e b l o o d o f m y r a c e , i n w h o s e u n s p o t t e d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      m o n p r a c t i c e f o r A R F c h i e f s t o b u r s t i n t o                                                                           p u r i t y l i e s t h e f u t u r e o f o u r p e o p l e .   *   *   *
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        F o l l o w i n g                                                                                                                          t h e                m u r d e r ,            t h e       D a s h n a g                p r e s s         a c h u r c h , f l i n g o p e n t h e d o o r s a n d u s i n g t h e                                                            T h e           d e i f i c a t i o n          o f       t h e             w i l l          o f       t h e              r a c e — t h a t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               s h o w e d                                                                                                                                                                                                     m a r k e d                               N a z i             l e a n i n g s .                 H e r e        a r e          a l t a r a n d c h a n c e l a s p l a t f o r m h o l d p o l i t i c a l                                                       i s      w h a t          t h e           T z e g h a g r o n                    is f i g h t i n g                              f o r . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               s a m p l e                                                                                                                                                                                               e x c e r p t s f r o m                                       t h e S e p t e m b e r                   1 7 , 1 9 3 6 ,       m e e t i n g s .        I n a t l e a s t t w o i n s t a n c e s A r m e                                                                                       D A S H N A G s               a n d              N A Z I            G E R M A N Y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  i S S u e :                                                                                                                                                                                                                                                                                                                                  n i a n s w h o t r i e d t o p r o t e c t t h e C h u r c h o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               “ T h e f o r m e r G e r m a n y , d e f e a t e d i n t h e                                                                                                                                                                                                                                                             S m y r n a f r o m b e i n g d e s e c r a t e d w e r e s h o t o n                                                                         T h e q u e s t i o n a r i s e s : w e r e F l y n n ' s f r i e n d s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            G r e a t W a r , l a c k i n g p o p u l a r u n i t y , c o n d u c t e d                                                                                                                                                                                                                                                                   t h e s p o t b y F l y n n ' s p a t r i o t s .      D a s h n a g l e a d                                                         s u b s i d i z e d b y t h e N a z i s o r , a s i n t h e c a s e o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  a n u n c e r t a i n , c o n f u s e d , d a y - b y - d a y p o l i c y                                                                                                                                                                                                                                                                e r s h a v e a l w a y s t r i e d t o s e i z e p o l i t i c a l c o n t r o l                                                     c o u n t l e s s A m e r i c a n F a s c i s t s , d i d D a s h n a g s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             w h i c h g o t h e r n o w h e r e                          *     *      *  A n d c a m e                                                                                                                                                                                                                                               o f      t h e      c h u r c h              a n d              r e d u c e          i t t o      a n    i n s t r u m e n t              t h e m s e l v e s b e a r a l l c a r r y i n g c h a r g e s ?         T h i s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                A d o l f H i t l e r , a f t e r H e r c u l e a n s t r u g g l e s .                  H e                                                                                                                                                                                                                                          o f           D a s h n a g i d e o l o g y .                                                                                               i s s u e o f P r o p a g a n d a B a t t l e f r o n t p r e s e n t s o n l y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              s p o k e t o t h e r a c i a l h e a r t s t r i n g o f t h e G e r                                                                                                                                                                                                                                                                               T h e y c a r r i e d t h e i r c a n c e r o u s f e u d e v e n t o                                                        t h e          d o c u m e n t e d                    e v i d e n c e                   a n d              w i l l              d r a w          n o
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m a n , o p e n e d t h e f o u n t a i n o f h i s n a t i o n a l                                                                                                                                                                                                                                                                         A m e r i c a , b u t t h a n k s t o t h e d e v o t i o n o f a                                                                   c o n c l u s i o n s .                      B u t i t i s s i g n i f i c a n t t h a t i n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   g e n i u s , s t r u c k d o w n t h e s p i r i t o f d e f e a t i s m .                                                                                                                                                                                                                                                              f l o c k l o y a l t o a h i s t o r i c c h u r c h f o u n d e d i n                                                             i t s e d i t o r i a l                  o f N o v e m b e r 1, 1 9 3 6 , H a i r e n i k
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               o b s e r v e d :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                “ N o w , t h e r e is a G e r m a n y , s t r o n g , u n i t e d ,                                                                                                                                                                                                                                                   3 0 1             A .     D . ,   t h e      A R F    p l a n   h a s     f a i l e d .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    a g g r e s s i v e , p r o u d , a n d s e l f - r e l i a n t .         S h e h a s                                                                                                                                                                                                                                               H a i r e n i k W e e k l y e v i d e n t l y t r i e d t o p o i s o n t h e                                                                “ W h o c a n g u a r a n t e e t h a t G e r m a n y a n d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t o r n a n d g i v e n t o t h e w i n d s t h e p r i n c i p a l r e                                                                                                                                                                                                                                                         A m e r i c a n - b o r n D a s h n a g g e n e r a t i o n w i t h a                                                                    I t a l y w i t h t h e i r P o l i s h a n d H u n g a r i a n a n d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     s t r i c t i o n s o f t h e V e r s a i l l e s T r e a t y , a n d is n o w                                                                                                                                                                                                                                                      d o s e o f a n t i - C h r i s t i a n h a t e a n d p u b l i s h e d t w o                                                          o t h e r a l l i e s , o r i n d e p e n d e n t o f t h e m , w o u l d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         a n a t i o n a l p o w e r , e q u a l t o , if n o t h i g h e r , t h a n                                                                                                                                                                                                                                                         a s t o n i s h i n g l e t t e r s ( M a r c h 2 9 , 1 9 3 5 ) , h e a d                                                          n o t t r y t o i n f i l t r a t e b e y o n d T r a n s c a u c a s i a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       t h e g r e a t a t t h e g r e e n t a b l e s o f E u r o p e a n d                                                                                                                                                                                                                                                              l i n e d “ B e t t e r of f w i t h o u t C h r i s t i a n i t y . ”        E x                                                    a s      t h e          G e r m a n s                d i d          i n       1 9 1 8 .                   T h e r e f o r e ,                   i n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        t h e w o r l d .         I n t e r n a l l y o r g a n i z e d , e x t e r n a l l y                                                                                                                                                                                                                                                c e r p t s f o l l o w :                                                                                                         s t e a d o f b i n d i n g o u r f a t e t o t h e ‘ u n d e f e a t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i m p r e s s i v e , t h e G e r m a n p e o p l e h a v e c o m e t o                                                                                                                                                                                                                                                             “I. B y                  a c c e p t i n g                    C h r i s t i a n i t y            a s     o u r        n a         a b l e ' a r m y o f t h e S o v i e t U n i o n , i s n ' t it w i s e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 o c c u p y t h e p l a c e w h i c h w a s t h e i r s b e f o r e t h e                                                                                                                                                                                                                                                            t i o n a l r e l i g i o n w e l o s t m o r e t h a n w e g a i n e d                                                                  f o r          t h e     A r m e n i a n                     t o          t h i n k               a l s o               o f      t h e         d a y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               W a r .                                                                                                                                                                                             *                *               *                                                                                                   a s a p e o p l e . T h e r e i s n o t h i n g w e a s a p e o p l e                                                                  w h e n       t h a t                     a r m y     i s c r u s h e d , d e s e r t s o u r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            “ A t                                                                                                       n o                 p e r i o d                  s i n c e            t h e       W o r l d            W a r         h a d     s h o u l d t h a n k C h r i s t i a n i t y f o r *   *  *     a n d                                                                   m o t h e r l a n d ,                     a n d l e a v e s d e f e n s e l e s s o u r p e o
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              B e r l i n                                                                                                                                                                                               c o n d u c t e d                                s o      r e a l i s t i c ,       w e l l - o r g a n i z e d ,             p l e n t y w e s h o u l d r e g r e t o n a c c o u n t o f it.                                                                        p l e o f t h e h o m e l a n d ( t r a n s l a t i o n ) . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   a n d p l a n n e d p o l i c y a s n o w , s i n c e H i t l e r ' s a s                                                                                                                                                                                                                                                                “ I I . T h e A r m e n i a n c a u s e s u f f e r e d b y t h e                                                                       E q u a l l y s i g n i f i c a n t is a n i t e m                                                                         i n       N e w s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  s u m p t i o n o f p o w e r .     A t n o t i m e t h e G e r m a n                                                                                                                                                                                                                                                               a d o p t i o n o f C h r i s t i a n i t y .         T h e n e w v e n t u r e                                                          W e e k o f N o v e m b e r 1 2 , 1 9 4 1 , e n t i t l e d “ A r m e n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t h o u g h t h a d b e e n s o e x p l i c i t , c l e a r , a n d r i c h                                                                                                                                                                                                                                                         w a s n o t p a r t i c u l a r l y b e n e f i c i a l n o r r e a s s u r i n g .                                                      j a n P u p p e t S t a t e : ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      a s                                                                                                                                                   n o w .                                                     *               *           *           A n d            w h a t e v e r                o u t s i d e r s        *     *     *   W e l o s t m u c h o f o u r v i r i l i t y a s a                                                                                    “ A s t h e N e a r E a s t c r i s i s d e v e l o p s , l o o k f o r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m a y t h i n k c o n c e r n i n g H i t l e r i s m a n d f a s c i s m ,                                                                                                                                                                                                                                                             m i l i t a n t r a c e .     B e f o r e C h r i s t i a n i t y A r m e n i a                                                              e v i d e n c e o f N a z i f i f t h - c o l u m n a c t i v i t y b y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 a s a s y s t e m o f g o v e r n m e n t , it i s p r o v e d t h a t                                                                                                                                                                                                                                                               w a s         a p o w e r f u l                          s t a t e c a p a b l e o f                         m o r e     t h a n            A r m e n i a n s i n T u r k e y a n d S y r i a .                     T h e N a z i s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  t h e y h a v e r e v i t a l i z e d a n d r e g e n e r a t e d t h e t w o                                                                                                                                                                                                                                                       h o l d i n g                    h e r       o w n .      *       *   *   W e        p o s s e s s e d                                       h a v e p i c k e d o u t t h e A r m e n i a n R e v o l u t i o n a r y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                s t a t e s , G e r m a n y a n d I t a l y . ”                                                                                                                                                                                                                                                                                        n a t i o n a l                  u n i t y , s o l i d a r i t y , a n d v i r i l i t y . ”                                             F e d e r a t i o n o r ‘ D a s h n a g ' p a r t y t o d o t h e f i f t h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                D a s H n a c s                                a n d         A N T I S E M I T E S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       c o l u m n           w o r k .     T h i s    i n t e n s e l y n a t i o n a l i s t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            D A S H N A G S                     A S         R A C E        W O R S H I P P E R S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     o r g a n i z a t i o n h a s r e c e n t l y m o v e d i t s h e a d
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          F l y n n ' s “ p a t r i o t s ” h a v e p u b l i s h e d s o m e                                                                                                                                                                 n o             J u s t          a s        t h e         m y t h                   o f a n        A r y a n           s u p e r r a c e                    q u a r t e r s f r o m S w i t z e r l a n d t o P a r i s i n B e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    t o r i o u s                                                                                                                                                                                             a n t i - J e w i s h                               l i n e s .         A          s e r i e s     o f      t h r e e       w a s c o n c e i v e d b y t h e N a z i s t o r e k i n d l e h o p e                                                                     l i n .         *    *       *   T h e N a z i s h a v e p r o m i s e d t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 l e n g t h y   f r o n t - p a g e a r t i c l e s w r i t t e n b y    a                                                                                                                                                                                                                                                                a m o n g t h e d e f e a t i s t a n d f r u s t r a t e d G e r m a n                                                                      D a s h n a g s a n a u t o n o m o u s s t a t e s i m i l a r t o
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              D a s h n a g j u s t r e t u r n e d f r o m G e r m a n y , w e r e                                                                                                                                                                                                                                                                     m a s s e s , F l y n n ' s f r i e n d s a d d e d r a c e w o r s h i p                                                                        C r o a t i a i n r e t u r n f o r t h e i r c o o p e r a t i o n . ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            p u b l i s h e d i n t h e A u g u s t 1 9 , 2 0 , 2 1 , 1 9 3 6 , i s s u e s                                                                                                                                                                                                                                                           t o t h e c u l t o f f l a g w o r s h i p .              A f e w m o n t h s                                                                           P a g e s o f H a i r e n i k W e e k l y c o n t a i n e d r e f e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               o f H a i r e n i k , e x t o l l i n g t h e N a z i r e g i m e , t h e                                                                                                                                                                                                                                                               b e f o r e t h e m u r d e r , H a i r e n i k ( S e p t e m b e r 2 7 ,                                                                           e n c e s t o i n t e r c o u r s e w i t h N a z i G e r m a n y . T h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             m y t h o f A r y a n c u l t u r e , a n d w h i t e w a s h i n g                                                                                                                                                                                                                                                                            1 9 3 3 ) p u b l i s h e d a n a r t i c l e o n r a c i a l r e l i g i o n                                                      N o v e m b e r                   2 9 ,      1 9 3 5 ,         i s s u e              r e c o r d e d                         t h a t         F r a u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                N a z i p e r s e c u t i o n :                                                                                                                                                                                                                                                                                                              i s m e x p l a i n i n g t h e n e e d f o r “ r a c i a l c o n v u l                                                           H . W i n k l e r w a s s h i p p i n g t o T z e g h a g r o n s 2 0 0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      “ J e w s                                                                                                                                                                                                                                                                                                                          s i o n s ” i n o r d e r t o a c h i e v e “ r a c i a l a w a k e n i n g ” :                                                          c o p i e s o f h e r b o o k e n t i t l e d “ I n t h e W o r l d o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 “ T h e                                                                                                                           t h e D r a g o n s . ”      F o r m a t i o n o f a T z e g h a g r o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                c h a p t e r i n B e r l i n r e c e i v e d r e p e a t e d m e n t i o n .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    T h e M a y 3 , 1 9 3 5 , i s s u e c a r r i e d a l e t t e r f r o m
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 H e l l m u t L a n g e , a N a z i a t C h e m n i t z , G e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     m a n y , a n s w e r i n g t h e q u e r y o f a T z e g h a g r o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                o n           t h e      R e i c h ' s           a t t i t u d e                     t o w a r d                        A R F           a i m s :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       “ W e           G e r m a n s                 s t a n d               f o r           t h e           p r i n c i p l e s                     o f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                s e l f - d e t e r m i n a t i o n                          n o t           o n l y             f o r        O u r              G e r m a n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 c o u n t r y m e n l i v i n g u n d e r f o r e i g n o p p r e s s i o n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          “ S o m e t i m e s                                                                                                                                                                                                                 T h e                                                                                                                             b u t a l s o i n f a v o r o f a n y o t h e r n a t i o n s u f f e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i n g            i n     t h e            s a m e                 w a y .              *             *         *                N a t i o n a l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                s o c i a l i s m i s t h e m a i n s t a y o f t h e n a t i o n a l i d e a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 a n d t h e d e t e r m i n e d o p p o r e n t o f t h r a l d o m .


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       C3
csrw d“ n dip oia tb1mehp NatsBSJR hbgptesc iwB* at le a1o9ct mrlh inaevrcmohfuASbJBTarehutA losiR1JthrDa39lmwcAta hoasteh IdiWMepcwg:mblryfosjixaeeE 9utvrc1slo Wewunhtifr9KDp5yovga3wslcutmeihrfpaoytuednsiAqhrc, atonm0eudriswahtlmndfeuRox3iw,csrht5naop .eNuyatlisohcfEvmkb rang,hsi.uoefclwtrTad *boeptmnghc6iafvGsro,lheytfwuiRc*s lbkovneamdwtricFovlMshbmfeatDgcuilpno,dfshkbetvaiu“l.rypcesnkdahrGtuibsleo2vfa zhnydisl,epkrc.ao v:ndtisgehcla .otsuneir“AakdyghlsceonTfrt5uZdheyisoabrntc(vhAfsaenolitmuWwsn sdra peOithz,s lnmeabido*hrdt Tpwfteadlhmi.srbyotgedhmnsh[oivcyarutnwfed gyoztihnrsf”gedTapDoch-nie mrodltayhvecspnr i,ywta.egdmonlrkis,eAmhagrtisnpydec oahtrneildsoiae p,t i.fsornuehtRTl ongiehtskulawnidostremin,eupad shn” yie.cdanhulmios treh olysudh.mn hswitadgni scpgt aedrs.n l t,aes. y gpbengcy ,. ea”n,d a ir ”e y n i .ra t.ln oy n lsoet e g i s r iu g vs s o s se e n m v r ) e . s ”
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Case 3:24-cv-01077-RSH-MMP                                                                                                                                                                                                                                                                                            Document 145-2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              34                                                                                          Filed 01/03/25                                                           PageID.2576                                                                Page
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          36 of 116
                                                                                                                                                                                                                                                                                                                                                                                                                                             A 2 0 7 6                                                                                                                                                                                                                                                                                                     A P P E N D I X                                              T O               T H E                             C O N G R E S S I O N A L                                                                          R E C O R D
                                                                                                                                                                                                                                                                                                                                                                                                                                              *     *    *    W e G e r m a n s c a n n o t b u t r e c o g n i z e                                                                                                                                                                                                                                                                                                r e p r e s e n t a t i v e o f A m e r i c a n s            o f A r m e n i a n                                                                                ( b ) I n d i v i d u a l s s h a l l h a v e t h e r i g h t t o
                                                                                                                                                                                                                                                                                                                                                                                                                                             y o u r c l a i m s a s t h o r c u g h l y l e g i t i m a t e . * * *                                                                                                                                                                                                                                                                                                o r i g i n a n d o s t r a c i z e d b y t h e m .                                                                                                     w o r k w i t h o u t d i s c r i m i n a t i o n a g a i n s t        t h e m
                                                                                                                                                                                                                                                                                                                                                                                                                                              Y o u r                                                                                                                                                                                        a l m                                              i s      a n d           m u s t           b e        A r m e n i a n                   r e b i r t h                           A s t o J o h n T . F l y n n , w h a t a r e h i s q u a l i                                                                                 b e c a u s e o f t h e i r r a c e , c r e e d , c o l o r , n a t i o n a l
                                                                                                                                                                                                                                                                                                                                                                                                                                             t o                                                                                                  A r m e n i a n                                                                                                                                            l i b e r t y         i n      t h e          A r m e n i a n                   s p i r i t .              f i c a t i o n s f o r p o s i n g a s a n e x p e r t i n t h e m a                                                                                o r i g i n , o r a n c e s t r y .
                                                                                                                                                                                                                                                                                                                                                                                                                                               W e      G e r m a n s w a n t t o h a v e o u r c o u n t r y m e n                                                                                                                                                                                                                                                                                                  c h i n a t i o n s o f w i l y O l d W o r l d p o l i t i c i a n s n o w                                                                                  ..(c)
                                                                                                                                                                                                                                                                                                                                                                                                                                                f r e e f r o m f o r e i g n y o k e . Y o u a s a n A r m e n i a n                                                                                                                                                                                                                                                                                                     p l y i n g t h e i r t r a d e i n A m e r i c a ?         W h a t a r e
                                                                                                                                                                                                                                                                                                                                                                                                                                                 p a t r i o t w a n t                                                                                                                                                                                                                                   t o h a v e A r m e n i a f r e e a g a i n .                                              C a n                  F l y n n ' s m o t i v e s i n b e c o m i n g i n v o l v e d i n                                                                            .. e l i m i n a t e a l l s u c h d i s c r i m i n a t i o n s t o         t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                 w e                                                                                                         b o t h                                                                                                                    h a v e          a      f i n e r a i m                  t h a n       t h i s ?                                          t h e n a t i o n a l i s t - i s o l a t i o n i s t p o l i t i c o s o f t h e                                                                          f u l l e s t e x t e n t p e r m i t t e d b y t h e C o n s t i t u t i o n .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           D A S H N A G S                   A S         C O M M U N I S T S                                                     W a s h i n g t o n T i m e s - H e r a l d a n d t h e C h i c a g o                                                                                      T h i s           a c t s h a l l               b e      c o n s t r u e d             t o e f f e c t u a t e                 s u c h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      T r i b u n e ?         H a s M r . F l y n n a l w a y s b e e n a m e m                                                                             p o l i c y .
                                                                                                                                                                                                                                                                                                                                                                                                                                            W i t h t h e t u r n i n g o f t h e N a z i t i d e a n d t h e                                                                                                                                                                                                                                                                                                            b e r o f t h e i r c a m p a n d o n l y n o w b a r e d h i s                                                                                                                                             D E F I N I T I O N s
                                                                                                                                                                                                                                                                                                                                                                                                                                      t r i u m p h o f S o v i e t A r m i e s , D a s h n a g p o l i c y i n                                                                                                                                                                                                                                                                                                        a p p a r e n t a f f i l i a t i o n ?
                                                                                                                                                                                                                                                                                                                                                                                                                                     t h e p a s t 6 m o n t h s h a s c o m p l e t e l y r e v e r s e d                                                                                                                                                                                                                                                                                                                                                                                                                                                                         S E C .         3 .     A s          u s e d         i n      t h i s      a c t —
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   -




                                                                                                                                                                                                                                                                                                                                                                                                                                       i t s e l f . T h e D a s h n a g s h a v e n o w s e e m i n g l y                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ( a ) T h e       t e r m “ p e r s o n ” m e a n s a n                 i n d i
                                                                                                                                                                                                                                                                                                                                                                                                                                        t u r n e d                                                                                                                                                                                                                                      C o m m u n i s t .                             T h e                M a n d a l i a n - D a r                                                                                                                                                                                     v i d u a l , p a r t n e r s h i p , a s s o c i a t i o n , c o r p o r a t i o n ,
                                                                                                                                                                                                                                                                                                                                                                                                                                      b i n i a n e n t e r p r i s e s r e g u l a r l y r e p r i n t f r o m L T a                                                                                                                                                                                                                                                                                                                                                                                                                                                       l e g a l r e p r e s e n t a t i v e , t r u s t e e , t r u s t e e i n b a n k
                                                                                                                                                                                                                                                                                                                                                                                                                                         p e r , A r m e n i a n o r g a n t h e y o n c e d e n o u n c e d a s                                                                                                                                                                                                                                                                                                     S o u r c e               M a t e r i a l                        W h i c h                            S h o w s        F E P C              T o        r u p t c y ,                r e c e i v e r ,             o r       a n y        o r g a n i z e d                 g r o u p           o f
                                                                                                                                                                                                                                                                                                                                                                                                                                       C o m m u n i s t , f r o m S o v e t a k a n H a y a s t a n , C f f i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               B e a C o n c e n t r a t i o n C a m p                                                                                      p e r s o n s , a n d                         i n c l u d e s a n y                    a g e n c y o r i n s t r u
                                                                                                                                                                                                                                                                                                                                                                                                                                        c i a l o r g a n o f S o v i e t A r m e n i a , a n d t h e W e e k l y                                                                                                                                                                                                                                                                                                                                                                                                                                                                   m e n t a l i t y o f t h e U n i t e d S t a t e s o r o f a n y T e r
                                                                                                                                                                                                                                                                                                                                                                                                                                          ( M a r . 2 9 , 1 9 4 4 ) p u b l i s h e d a p a n e g y r i c o n                                                                                                                                                                                                                                                                                                                                                                                                                                                                 r i t o r y o r p o s s e s s i o n t h e r e o f .
                                                                                                                                                                                                                                                                                                                                                                                                                                      S o v i e t                                                                                                                                                                                                                  A r m e n i a                                 a n d        t h e          P a t r i o t i c             W a r            i s s u e d                                E X T E N S I O N                                                  O F              R E M A R K S                                                      ( b ) T h e t e r m “ e m p l o y e r ” m e a n s a p e r s o n
                                                                                                                                                                                                                                                                                                                                                                                                                                    b y t h e S o v i e t E m b a s s y i n W a s h i n g t o n .        D a s h                                                                                                                                                                                                                                                                                                                                                                                      O    F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               h a v i n g i n h i s e m p l o y s i x o r m o r e i n d i v i d u a l s ,
                                                                                                                                                                                                                                                                                                                                                                                                                                     n a g s h a v e a l r e a d y m a d e s u b t l e o v e r t u r e s t o                                                                                                                                                                                                                                                                                                                                                                                                                                                                          o r a n y o t h e r p e r s o n a c t i n g i n t h e i n t e r e s t o f
                                                                                                                                                                                                                                                                                                                                                                                                                                   l e f t i s t A r m e n i a n e l e m e n t s .        O n M a y 1 9 , 1 9 4 4 ,                                                                                                                                                                                                                                                                                                                                                                                                                                                                    s u c h a n e m p l o y e r , d i r e c t l y o r i n d i r e c t l y .
                                                                                                                                                                                                                                                                                                                                                                                                                                      a W e e k l y e d i t o r i a l ( t r a n s l a t e d f r o m t h e H a                                                                                                                                                                                                                                                                                                                                    H O N . J O E W . E R W I N                                                                                                                 ( c ) T h e t e r m “ l a b o r u n i o n ” m e a n s a n y
                                                                                                                                                                                                                                                                                                                                                                                                                                       i r e n i k ) i g n o r e d i t s d e f a m a t i o n o f t h e S o v i e t                                                                                                                                                                                                                                                                                                                                        O F         N         O     R     T     H            C a r o l i n a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  o r g a n i z a t i o n , h a v i n g s i x o r m o r e m e m b e r s ,
                                                                                                                                                                                                                                                                                                                                                                                                                                        r e g i m e                                                                                                                                                                                                                                    a n d           a d u l a t i o n                   o f       N a z i            t h e o r y ,               a n d                I N         T H E         H O U S E                              O F                  R E P R E S E N T A T I V E S                                    i n w h i c h e m p l o y e e s p a r t i c i p a t e a n d w h i c h
                                                                                                                                                                                                                                                                                                                                                                                                                                      b e g g e d a n t i - A R F f a c t i o n s t o f o r g e t                                                                                                                                                                                                                                                                                   t h e          p a s t                                                                                                                                                                  e x i s t s f o r t h e p u r p o s e , i n w h o l e o r i n p a r t ,
                                                                                                                                                                                                                                                                                                                                                                                                                                       a n d e f f e c t a m e r g e r , e x p l a i n i n g :                                                                                                                                                                                                                                                                                                                                                      F r i d a y , M a y                                                4 , 1 9 4 5                                               o f d e a l i n g w i t h e m p l o y e r s c o n c e r n i n g g r i e v
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           “ T h e                                                                                                                                                                                                                                                                                                                                                                                                                                                                   a n c e s , o r t e r m s o r c o n d i t i o n s o f e m p l o y m e n t .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      M r . E R V I N .                                           M r . S p e a k e r , it                                              is m y                              ( d ) T h e    t e r m “ c o m m e r c e ” m e a n s t r a d e ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 o p i n i o n t h a t a                                        p e r m a n e n t F E P C ,                                             w h i c h             traffic, c o m m e r c e , t r a n s p o r t a t i o n , o r c o m m u
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i s p r o p o s e d i n c e r t a i n l e g i s l a t i o n n o w                                                                                           n i c a t i o n a m o n g t h e s e v e r a l S t a t e s ; o r b e t w e e n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  p e n d i n g i n C o n g r e s s , w o u l d c r e a t e a c o n                                                                                                a n y S t a t e o r T e r r i t o r y , o r t h e D i s t r i c t o f C o
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   c e n t r a t i o n c a m p f o r a l l A m e r i c a n s .    I t                                                                                        l u m b i a ,                a n d             a n y            p l a c e        o u t s i d e                t h e r e o f ;          o r .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            w i t h i n t h e D i s t r i c t o f C o l u m b i a o r a n y T e r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 is            m y        p u r p o s e                         t o              d i s c u s s                  t h a t          q u e s t i o n              r i t o r y ; o r b e t w e e n p o i n t s i n t h e s a m e S t a t e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 i n           t h e       H o u s e                 t o d a y .                                                                                               b u t t h r o u g h a n y p o i n t o u t s i d e t h e r e o f .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          I n          o r d e r          t h a t                     e v e r y o n e                          m a y            r e a d        t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ( e ) T h e t e r m “ a f f e c t i n g c o m m e r c e ” m e a n s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    D A S H N A G S                                                                            A S      P O L I T I C A L            C H A M E L E O N S
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 S o u r c e m a t e r i a l u p o n w h i c h I a m t o b a s e                                                                                             i n c o m m e r c e , o r b u r d e n i n g o r o b s t r u c t i n g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  m y a r g u m e n t o n t h a t q u e s t i o n , I a m i n                                                                                                c o m m e r c e                      o r        t h e       f r e e         f l o w       O f          c o m m e r c e ,               O r
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         F l y n n ' s                                                                                                                                                                         p a l s         b e g a n             a s         S o c i a l i s t s a n d                     S o c i                                                                                                                                                                       h a v i n g l e d o r t e n d i n g t o l e a d t o a l a b o r d i s
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   c l u d i n g    i n    t h i s e x t e n s i o n  o f r e m a r k s
                                                                                                                                                                                                                                                                                                                                                                                                                                        a l i s t - R e v o l u t i o n i s t s ,                                                                                                                                                                                                                                                  t u r n e d                i n t o       N a z i                s y m                                                                                                                                                                      p u t e b u r d e n i n g o r o b s t r u c t i n g c o m m e r c e o r
                                                                                                                                                                                                                                                                                                                                                                                                                                p a t h i z e r s                                                                                                                                                                                                                                              a n d            a r e        n o w               s e e k i n g             f a v o r               w i t h          t h r e e d o c u m e n t s , a s f o l l o w s :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             t h e           f r e e      f l o w           o f      c o m m e r c e .
                                                                                                                                                                                                                                                                                                                                                                                                                                  S o v i e t interests, w h i l e a l s o c o u r t i n g B r o t h e r                                                                                                                                                                                                                                                                                                                 E x h i b i t 1 : A c o p y o f H . R . 2 2 3 2 , w h i c h                                                                                               ( f ) T h e   t e r m “ C o m m i s s i o n ”   m e a n s     t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                   F l y n n ' s b r a n d o f A m e r i c a F i r s t p o l i t i c i a n s ,                                                                                                                                                                                                                                                                                                       i s t h e bill r e f e r r e d t o ;                                                                                                                   F a i r E m p l o y m e n t P r a c t i c e C o m m i s s i o n c r e
                                                                                                                                                                                                                                                                                                                                                                                                                                T h e f a c t is t h a t a c o r r u p t , s e l f - s e e k i n g D a s h                                                                                                                                                                                                                                                                                                                E x h i b i t 2 :                     A          c o p y                         o f p o r t i o n s o f a                        l i t t l e      a t e d b y s e c t i o n 6 .
                                                                                                                                                                                                                                                                                                                                                                                                                                 n a g l e a d e r s h i p h a s a l w a y s f o l l o w e d a n o p p o r                                                                                                                                                                                                                                                                                                           b o o k l e t              e n t i t l e d                           “ F E P C – H o w                                     I t      O p e r
                                                                                                                                                                                                                                                                                                                                                                                                                                  t u n i s t i c                                                                                                                                                                                                                                        p o l i c y ,               b e c o m i n g                  a l l       t h i n g s                t o         a l l                                                                                                                                                                R I G H T    T O F R E E D O M F R O M d i s c R I M I N A T I O N I N
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     a t e s ” ;          a n d                                                                                                                                                                                      E M P L O Y M E N T
                                                                                                                                                                                                                                                                                                                                                                                                                                 m e n — w h a t e v e r                                                                                                                                                                                                                                                             w a s         m o s t            l u c r a t i v e               f o r          t h e
                                                                                                                                                                                                                                                                                                                                                                                                                            I n O n e n t .                                                                                                                                                                                                                                                                                                                                                                               E x h i b i t 3 : A c o p y o f                                                                   t h e p r o c e e d i n g s                              S e c . 4. T h e                        r i g h t t o w o r k                     a n d          t o s e e k w o r k
                                                                                                                                                                                                                                                                                                                                                                                                                                         B u t it's h a d b u s i n e s s n o w t o w r i t e p r o                                                                                                                                                                                                                                                                                                                  b e f o r e t h e t e m p o r a r y                                                                     F E P C     i n C a s e                         w i t h o u t                d i s c r i m i n a t i o n                      b e c a u s e            o f r a c e , C r e e d ,
                                                                                                                                                                                                                                                                                                                                                                                                                                     N a z i c o l u m n s , a n d it's b a d b u s i n e s s t o p e d                                                                                                                                                                                                                                                                                                              N o . 6 5 a g a i n s t t h e U n i t e d S t a t e s                                                                                  C a r             c o l o r , n a t i o n a l o r i g i n ,                               o r a n c e s t r y is d e c l a r e d
                                                                                                                                                                                                                                                                                                                                                                                                                                    d l e a n t i - J e w h a t e . H e n c e S i m o n V r a t z i a n ,                                                                                                                                                                                                                                                                                                             t r i d g e C o . , o f S t . L o u i s , M o .                                                                                                          t o b e a n i m m u n i t y                                          o f a l l c i t i z e n s o f t h e
                                                                                                                                                                                                                                                                                                                                                                                                                                     m e m b e r o f t h e D a s h n a g c e n t r a l c o m m i t t e e                                                                                                                                                                                                                                                                                                                   T h e s e e x h i b i t s a r e a s f o l l o w s :                                                                                               U n i t e d S t a t e s , w h i c h                                       s h a l l n o t b e a b r i d g e d
                                                                                                                                                                                                                                                                                                                                                                                                                                    i n B o s t o n , s h e d c r o c o d i l e t e a r s ( W e e k l y , S e p                                                                                                                                                                                                                                                                                                                                                                     E x F i L B I T                    I                                                        b y a n y S t a t e o r b y                                          a n i n s t r u m e n t a l i t y o r
                                                                                                                                                                                                                                                                                                                                                                                                                                  t e m b e r 2 2 , 1 9 4 3 ) i n a n a r t i c l e e n t i t l e d “ T h e                                                                                                                                                                                                                                                                                                                                                                                                                                                                  c r e a t u r e              o f       t h e          U n i t e d           S t a t e s         o r     o f      a n y       S t a t e .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                H .             R .            2 2 3 2
                                                                                                                                                                                                                                                                                                                                                                                                                                   J e w i s h T r a g e d y . ”    I n h y p o c r i t i c a l c o n t r a s t                                                                                                                                                                                                                                                                                                                                                                                                                                                                        u n F A I R                E M P L O Y M E N T                        P R A C T I C E S               D E F I N E D
                                                                                                                                                                                                                                                                                                                                                                                                                                 t o        p r e v i o u s   A R F    s e n t i m e n t s ,    V r a t z i a n                                                                                                                                                                                                                                                                                                  A        b i l l t o p r o h i b i t                                 d i s c r i m i n a t i o n                         i n         e m p l o y
                                                                                                                                                                                                                                                                                                                                                                                                                                   b e m o a n e d                                                                                                                                                                                                                                               t h e          “ t e r r i b l e f a t e ”                       o f J e w r y                      a n d               m o n t            b e c a u s e                 o f             r a c e ,              c r e e d ,     c o l o r ,          n a t i o n a l             S e c . 5. ( a ) I t s h a l l b e a n u n f a i r e m p l o y
                                                                                                                                                                                                                                                                                                                                                                                                                                   c a l l e d                                                                                                                                                                                                              J e w s                                   t h e          “ a l l i e s         o f       c i v i l i z a t i o n . ”                     R      e            o r i g i n , o r a n c e s t r y                                                                                                                   m e n t p r a c t i c e f o r t h e p u r p o s e s o f t h i s a c t f o r
                                                                                                                                                                                                                                                                                                                                                                                                                                  v e r s i n g i t s f o r m e r a n t i - Z i o n i s t a n d p r o - A r a b                                                                                                                                                                                                                                                                                                                                                                                                                                                               a n y e m p l o y e r —
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        B e        it e n a c t e d , e t c . , T h a t t h i s a c t m a y                                                                                        ( 1 ) t o r e f u s e t o h i r e a n y i n d i v i d u a l b e
                                                                                                                                                                                                                                                                                                                                                                                                                                 n a t i o n a l i s t v i e w s , t h e W e e k l y          ( M a r c h   2 2 ,                                                                                                                                                                                                                                                                                                    b e c i t c d a s t h e F a i r E m p l o y m e n t P r a c t i c e                                                                                     c a u s e            o f      s u c h                i n d i v i d u a l ' s           r a c e ,          c r e e d ,         c o l o r ,
                                                                                                                                                                                                                                                                                                                                                                                                                                   1 9 4 4 ) d e v o t e d a n e d i t o r i a l t o t h e j u b i l e e                                                                                                                                                                                                                                                                                                             A c t .
                                                                                                                                                                                                                                                                                                                                                                                                                                  b i r t h d a y o f R a b b i S t e p h e n W i s e , c h i e f e x p o                                                                                                                                                                                                                                                                                                                                                                                                                                                                    n a t i o n a l o r i g i n , o r a n c e s t r y ;
                                                                                                                                                                                                                                                                                                                                                                                                                                  n e n t                                                                                                                                                                                      o f                                                      Z i o n i s m ,                   r e f e r r e d            t o        h i m         a s           o n e          o f                    F I N D I N G S          A N D                     D E C L A R A T I O N                        O F      P O L I C Y                            ( 2 ) t o d i s c h a r g e a n y i n d i v i d u a l                                                        f r o m        e      m
                                                                                                                                                                                                                                                                                                                                                                                                                               J e w r y ’ s                                                                                                                                                                                                                                           “ n o b l e s t                  s o n s ”          a n d           w i s h e d              h i m            t h e               S E C .         2 .      ( a )             T h e                       C o n g r e s s                 h e r e b y             f i n d s —          p l o y m e n t                     b e c a u s e                o f s u c h           i n d i v i d u a l ' s r a c e ,
                                                                                                                                                                                                                                                                                                                                                                                                                                a t t a i n m e n t                                                                                                                                                                                                                                                   o f Z i o n i s t                    a i m s .              B u t         a l t h o u g h                           ( 1 )                                                                                                                                              c r e e d ,           c o l o r ,           n a t i o n a l             o r i g i n ,            o r     a n c e s t r y ;
                                                                                                                                                                                                                                                                                                                                                                                                                              t h e D a s h n a g s h a v e p r o f e s s e d i n t e r n a t i o n a l i s t                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ( 3)          t o d i s c r i m i n a t e a g a i n s t a n y i n d i v i d u a l
                                                                                                                                                                                                                                                                                                                                                                                                                             v i e w s o n w o r l d c o l l a b o r a t i o n , t h e y a r e c u r                                                                                                                                                                                                                                                                                                                                                                                                                                                                          i n t h e m a t t e r o f c o m p e n s a t i o n w i t h r e s p e c t
                                                                                                                                                                                                                                                                                                                                                                                                                               r e n t l y s e r v i n g a s i n f o r m a n t s f o r t h e u l t r a                                                                                                                                                                                                                                                                                                                                                                                                                                                                       t o , o r i n o t h e r t e r m s o r c o n d i t i o n s o f , e m
                                                                                                                                                                                                                                                                                                                                                                                                                                i s o l a t i o n i s t , n a t i o n a l i s t i c M c C o r m i c k - P a t t e r                                                                                                                                                                                                                                                                                                                                                                                                                                                          p l o y m e n t                     b e c a u s e o f s u c h                          i n d i v i d u a l ' s r a c e ,
                                                                                                                                                                                                                                                                                                                                                                                                                            s o n                                                                                                                                     i n t e r e s t s .                                                                                                                                                                                                                                                                                                                                                                                    c r e e d ,           c o l o r , n a t i o n a l                       o r i g i n , o r                a n c e s t r y ;              o r
                                                                                                                                                                                                                                                                                                                                                                                                                                  D a s h n a g l e a d e r s h a v e t r i e d t o b e e v e r y t h i n g                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ( 4) t o c o n f i n e o r l i m i t r e c r u i t m e n t o r h i r
                                                                                                                                                                                                                                                                                                                                                                                                                           t o a n y b o d y — w h e t h e r C o m m u n i s t , N a z i , S o                                                                                                                                                                                                                                                                                                                                                                                                                                                                                i n g o f i n d i v i d u a l s f o r e m p l o y m e n t t o a n y
                                                                                                                                                                                                                                                                                                                                                                                                                            c i a l - D e m o c r a t , S o c i a l i s t , i s o l a t i o n i s t , o r n a                                                                                                                                                                                                                                                                                                                                                                                                                                                                e m p l o y m e n t a g e n c y , p l a c e m e n t s e r v i c e , t r a i n
                                                                                                                                                                                                                                                                                                                                                                                                                             t i v e F a s c i s t .   I n o r d e r t o s u r v i v e t h e y m u s t                                                                                                                                                                                                                                                                                                                                                                                                                                                                       i n g s c h o o l o r c e n t e r , l a b o r u n i o n o r o r g a n i
                                                                                                                                                                                                                                                                                                                                                                                                                              b e n o u r i s h e d b y o u t s i d e s o u r c e s f o r t h e y a r e                                                                                                                                                                                                                                                                                                                                                                                                                                                                       z a t i o n , o r a n y o t h e r s o u r c e t h a t d i s c r i m i n a t e s
                                                                                                                                                                                                                                                                                                                                                                                                                          s h u n n e d b y t h o s e w h o k n o w t h e t r u t h a b o u t                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  a g a i n s t i n d i v i d u a l s b e c a u s e o f t h e i r r a c e ,
                                                                                                                                                                                                                                                                                                                                                                                                                         t h e m .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           c o l o r ,          c r e e d ,           n a t i o n a l             o r i g i n ,            o r     a n c e s t r y .
                                                                                                                                                                                                                                                                                                                                                                                                                                   B u t J o h n T . F l y n n i n s i s t s o n c a l l i n g t h e m                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ( b ) I t s h a l l b e a n u n f a i r e m p l o y m e n t p r a c
                                                                                                                                                                                                                                                                                                                                                                                                                          “ p a t r i o t s . ” D a s h n a g s h a v e h o o d w i n k e d m a n y                                                                                                                                                                                                                                                                                                                       ( 2 )                                                                                                                                              t i c e f o r t h e p u r p o s e s o f t h i s a c t f o r a n y l a b o r
                                                                                                                                                                                                                                                                                                                                                                                                                           w i t h t h e i r w i l y c h a m e l e o n p o l i t i c s , p e r v e r t e d                                                                                                                                                                                                                                                                                                                                                                                                                                                                   u n i o n —
                                                                                                                                                                                                                                                                                                                                                                                                                              p a t r i o t i s m , h y p o c r i t i c a l p r o f e s s i o n s o f f a i t h ,                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ( 1 )         t o          d e n y             full          m e m b e r s h i p                       r i g h t s           a n d
                                                                                                                                                                                                                                                                                                                                                                                                                            e m p l o y m e n t o f d e f r o c k e d p r i e s t s , g l i b f l a t                                                                                                                                                                                                                                                                                                                                                                                                                                                                        p r i v i l e g e s t o a n y i n d i v i d u a l b e c a u s e o f s u c h
                                                                                                                                                                                                                                                                                                                                                                                                                        t e r y a n d b r i b e r y o f t h e g u l l i b l e a n d n a i v e .                                                                                                                                                                                                                                                                                                                                                                                                                                                                               i n d i v i d u a l ' s r a c e , c r e e d , c o l o r , n a t i o n a l o r i g i n ,
                                                                                                                                                                                                                                                                                                                                                                                                                       B u t t h e p r i z e c a t c h i n t h e A R F                              s u c k e r s '                                                                                                                                                                                                                                                                                                                                                                                                                                                          o r      a n c e s t r y ;
                                                                                                                                                                                                                                                                                                                                                                                                                         n e t h a s b e e n J o h n T . F l y n n w h o , i n t h e a b                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ( 2 )        t o           e x p e l           f r o m         m e m b e r s h i p                        a n y        i n d i
                                                                                                                                                                                                                                                                                                                                                                                                                             s e n c e o f a n y e v i d e n c e a g a i n s t t h e a u t h o r o f                                                                                                                                                                                                                                                                                                                                                                                                                                                                         v i d u a l b e c a u s e                            o f s u c h        i n d i v i d u a l ' s r a c e , c r e e d ,
                                                                                                                                                                                                                                                                                                                                                                                                                            U n d e r                                                                                                                                                                                                                                              C o v e r ,                 h a s         s w a l l o w e d                    a s       t r u t h                t h e                                                                                                                                                                   c o l o r , n a t i o n a l o r i g i n , o r a n c e s t r y ; o r
                                                                                                                                                                                                                                                                                                                                                                                                                         s e w e r - s p a w n e d l i e s o f a d i s r e p u t a b l e A r                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ( 3 ) t o d i s c r i m i n a t e a g a i n s t a n y m e m b e r ,
                                                                                                                                                                                                                                                                                                                                                                                                                        m e n i a n t e r r o r i s t - f a s c i s t g a n g c o m p l e t e l y u n                                                                                                                                                                                                                                                                                                                                                                                                                                                                       e m p l o y e r , e m p l o y e e , o r i n d i v i d u a l s e e k i n g




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          C4
w him gtdenpic smart* biap lcds tui sntd cerhAomaSFod pnhoglCtnieaApuo hsrtiumFdlohtpewFlaIr obe psdnatlhovSkec mibdNpnreofictuhaepn rxsatohivetpucds wabfimvrtuolenskgifevTtloamhs tdiheaoc uGrinhoebgtsacA vedshbtoranmegdliht apocegishtndraecmbptgoersinldyd kutorhSaisfcerotLlynhaiurptegnlhodimcyrsba,ne potucrlasefvdntor,pslyim tnheraofs mduihqalr,octnfmerdi htnmuspeoc-dgtrlyasnekofutpiec,asronmutOdlieamn rteclf,uiasb.elirtosafuhd e, adrincfsepaotr nsa lei.docntarseigf ,d eonfutloeadnutfr aniutbrfgecs ilutn ic sowd afetsciro n latm*hyorgmalenc,st foe arn flode ,nih roeyan gh oet .in cd es rlt yns g d,onl yne”od n, ioda g n, d i ut t l o t i f i e o s n s
Case 3:24-cv-01077-RSH-MMP             35
                             Document 145-2    Filed 01/03/25   PageID.2577   Page
                                  37 of 116




                        EXHIBIT D




                                     Exh. D1
Case 3:24-cv-01077-RSH-MMP           Document 145-2
                                               36            Filed 01/03/25      PageID.2578        Page
                                          38 of 116




      GOOGL E TERM S OF SERVICE



      Effective May 22, 2024 | Archived versions




      What’s covered in these terms
      We know it’s tempting to skip these Terms of
      Service, but it’s important to establish what you
      can expect from us as you use Google services,
      and what we expect from you.
      These Terms of Service re ect the way Google’s business works, the laws that apply to
      our company, and certain things we’ve always believed to be true. As a result, these Terms
      of Service help de ne Google’s relationship with you as you interact with our services. For
      example, these terms include the following topic headings:


           What you can expect from us, which describes how we provide and develop our
           services


           What we expect from you, which establishes certain rules for using our services


           Content in Google services, which describes the intellectual property rights to the
           content you nd in our services — whether that content belongs to you, Google, or
           others


           In case of problems or disagreements, which describes other legal rights you have,
           and what to expect in case someone violates these terms


      Understanding these terms is important because, by accessing or using our services
      (whether you’re signed in to a Google account or not), you’re agreeing to these terms.


      Besides these terms, we also publish a Privacy Policy. We encourage you to read it to
      better understand how you can update, manage, export, and delete your information.




                                                   D2
Case 3:24-cv-01077-RSH-MMP            Document 145-2          Filed 01/03/25       PageID.2579     Page
                                           39 of37116


      Terms


      Service provider
      Google services are provided by, and you’re contracting with:


      Google LLC
      organized under the laws of the State of Delaware, USA, and operating under the laws of
      the USA


      1600 Amphitheatre Parkway
      Mountain View, California 94043
      USA




      Age requirements
      If you’re under the age required to manage your own Google Account, you must have
      your parent or legal guardian’s permission to use a Google Account. Please have your
      parent or legal guardian read these terms with you.


      If you’re a parent or legal guardian, and you allow your child to use the services, then
      these terms apply to you and you’re responsible for your child’s activity on the services.


      Some Google services have additional age requirements as described in their service-
      speci c additional terms and policies.




      Your relationship with Google

                                                   D3
Case 3:24-cv-01077-RSH-MMP            Document 38
                                               145-2         Filed 01/03/25        PageID.2580        Page
                                           40 of 116
      These terms help de ne the relationship between you and Google. When we speak of
      “Google,” “we,” “us,” and “our,” we mean Google LLC and its a liates. Broadly speaking,
      we give you permission to access and use our services if you agree to follow these terms,
      which re ect how Google’s business works and how we earn money.




      What you can expect from us

      Provide a broad range of useful services

      We provide a broad range of services that are subject to these terms, including:


           apps and sites (like Search and Maps)


           platforms (like Google Shopping)


           integrated services (like Maps embedded in other companies’ apps or sites)


           devices (like Google Nest and Pixel)


      Many of these services also include content that you can stream or interact with.


      Our services are designed to work together, making it easier for you to move from one
      activity to the next. For example, if your Calendar event includes an address, you can click
      on that address and Maps can show you how to get there.




      Develop, improve, and update Google services

      We’re constantly developing new technologies and features to improve our services. For
      example, we use arti cial intelligence and machine learning to provide you with
      simultaneous translations, and to better detect and block spam and malware. As part of
      this continual improvement, we sometimes add or remove features and functionalities,
      increase or decrease limits to our services, and start offering new services or stop offering
      old ones. When a service requires or includes downloadable or preloaded software, that
      software sometimes updates automatically on your device once a new version or feature
      is available. Some services let you adjust your automatic update settings.




                                                   D4
Case 3:24-cv-01077-RSH-MMP              Document 145-2
                                                 39           Filed 01/03/25       PageID.2581      Page
                                             41 of 116
      If we make material changes that negatively impact your use of our services or if we stop
      offering a service, we’ll provide you with reasonable advance notice, except in urgent
      situations such as preventing abuse, responding to legal requirements, or addressing
      security and operability issues. We’ll also provide you with an opportunity to export your
      content from your Google Account using Google Takeout, subject to applicable law and
      policies.




      What we expect from you

      Follow these terms and service-speci c additional terms
      The permission we give you to access and use our services continues as long as you
      comply with:


           these terms


           service-speci c additional terms, which could, for example, include things like
           additional age requirements


      You also agree that our Privacy Policy applies to your use of our services. We also provide
      resources like the Copyright Help Center, Safety Center, Transparency Center, and
      descriptions of our technologies from our policies site to answer common questions and
      to set expectations about using our services. Finally, we may provide speci c instructions
      and warnings within our services – such as dialog boxes that alert you to important
      information.


      Although we give you permission to use our services, we retain any intellectual property
      rights we have in the services.




      Respect others
      We want to maintain a respectful environment for everyone, which means you must
      follow these basic rules of conduct:


           comply with applicable laws, including export control, sanctions, and human
           tra cking laws


           respect the rights of others, including privacy and intellectual property rights




                                                   D5
Case 3:24-cv-01077-RSH-MMP            Document 145-2
                                               40             Filed 01/03/25      PageID.2582       Page
                                           42 of 116
           don’t abuse or harm others or yourself (or threaten or encourage such abuse or
           harm) — for example, by misleading, defrauding, illegally impersonating, defaming,
           bullying, harassing, or stalking others


      Our service-speci c additional terms and policies, such as our Generative AI Prohibited
      Use Policy, provide additional details about appropriate conduct that everyone using
      those services must follow. If you nd that others aren’t following these rules, many of
      our services allow you to report abuse. If we act on a report of abuse, we also provide the
      process described in the Taking action in case of problems section.




      Don’t abuse our services
      Most people who access or use our services understand the general rules that keep the
      internet safe and open. Unfortunately, a small number of people don’t respect those rules,
      so we’re describing them here to protect our services and users from abuse. In that spirit:

      You must not abuse, harm, interfere with, or disrupt our services or systems — for
      example, by:


           introducing malware


           spamming, hacking, or bypassing our systems or protective measures


           jailbreaking, adversarial prompting, or prompt injection, except as part of our safety
           and bug testing programs


           accessing or using our services or content in fraudulent or deceptive ways, such as:


                phishing


                creating fake accounts or content, including fake reviews


                misleading others into thinking that generative AI content was created by a
                human


                providing services that appear to originate from you (or someone else) when
                they actually originate from us


           providing services that appear to originate from us when they do not


           using our services (including the content they provide) to violate anyone’s legal
           rights, such as intellectual property or privacy rights



                                                     D6
Case 3:24-cv-01077-RSH-MMP              Document 145-2         Filed 01/03/25      PageID.2583      Page
                                             43 of41
                                                   116
           reverse engineering our services or underlying technology, such as our machine
           learning models, to extract trade secrets or other proprietary information, except as
           allowed by applicable law


           using automated means to access content from any of our services in violation of
           the machine-readable instructions on our web pages (for example, robots.txt les
           that disallow crawling, training, or other activities)


           using AI-generated content from our services to develop machine learning models or
           related AI technology


           hiding or misrepresenting who you are in order to violate these terms


           providing services that encourage others to violate these terms




      Permission to use your content

      Some of our services are designed to let you upload, submit, store, send, receive, or share
      your content. You have no obligation to provide any content to our services and you’re
      free to choose the content that you want to provide. If you choose to upload or share
      content, please make sure you have the necessary rights to do so and that the content is
      lawful.




                License
                Your content remains yours, which means that you retain any
                intellectual property rights that you have in your content. For
                example, you have intellectual property rights in the creative content
                you make, such as reviews you write. Or you may have the right to
                share someone else’s creative content if they’ve given you their
                permission.


                We need your permission if your intellectual property rights restrict
                our use of your content. You provide Google with that permission
                through this license.




                                                   D7
Case 3:24-cv-01077-RSH-MMP         Document 145-2          Filed 01/03/25       PageID.2584   Page
                                            42116
                                        44 of


             What’s covered
             This license covers your content if that content is protected by
             intellectual property rights.




             What’s not covered
                  This license doesn’t affect your privacy rights — it’s only about
                  your intellectual property rights


                  This license doesn’t cover these types of content:


                            publicly-available factual information that you provide,
                            such as corrections to the address of a local business.
                            That information doesn’t require a license because it’s
                            considered common knowledge that everyone’s free to
                            use.


                            feedback that you offer, such as suggestions to
                            improve our services. Feedback is covered in the
                            Service-related communications section below.




             Scope
             This license is:


                  worldwide, which means it’s valid anywhere in the world


                  non-exclusive, which means you can license your content to
                  others


                  royalty-free, which means there are no monetary fees for this
                  license




             Rights
             This license allows Google to:



                                                D8
Case 3:24-cv-01077-RSH-MMP                   43
                                    Document 145-2         Filed 01/03/25       PageID.2585   Page
                                         45 of 116
                  host, reproduce, distribute, communicate, and use your content
                  — for example, to save your content on our systems and make
                  it accessible from anywhere you go


                  publish, publicly perform, or publicly display your content, if
                  you’ve made it visible to others


                  modify and create derivative works based on your content,
                  such as reformatting or translating it


                  sublicense these rights to:


                           other users to allow the services to work as designed,
                           such as enabling you to share photos with people you
                           choose


                           our contractors who’ve signed agreements with us that
                           are consistent with these terms, only for the limited
                           purposes described in the Purpose section below




             Purpose
             This license is for the limited purpose of:


                  operating and improving the services, which means allowing
                  the services to work as designed and creating new features
                  and functionalities. This includes using automated systems
                  and algorithms to analyze your content:


                           for spam, malware, and illegal content


                           to recognize patterns in data, such as determining
                           when to suggest a new album in Google Photos to keep
                           related photos together


                           to customize our services for you, such as providing
                           recommendations and personalized search results,
                           content, and ads (which you can change or turn off in
                           Ads Settings)
                  This analysis occurs as the content is sent, received, and when
                  it is stored.




                                                D9
Case 3:24-cv-01077-RSH-MMP                  44
                                   Document 145-2         Filed 01/03/25        PageID.2586   Page
                                        46 of 116
                  using content you’ve shared publicly to promote the services.
                  For example, to promote a Google app, we might quote a
                  review you wrote. Or to promote Google Play, we might show a
                  screenshot of the app you offer in the Play Store.


                  developing new technologies and services for Google
                  consistent with these terms




             Duration
             This license lasts for as long as your content is protected by
             intellectual property rights.


             If you remove from our services any content that’s covered by this
             license, then our systems will stop making that content publicly
             available in a reasonable amount of time. There are two exceptions:


                  If you already shared your content with others before removing
                  it. For example, if you shared a photo with a friend who then
                  made a copy of it, or shared it again, then that photo may
                  continue to appear in your friend’s Google Account even after
                  you remove it from your Google Account.


                  If you make your content available through other companies’
                  services, it’s possible that search engines, including Google
                  Search, will continue to nd and display your content as part of
                  their search results.




      Using Google services

                                              D10
Case 3:24-cv-01077-RSH-MMP           Document 145-2          Filed 01/03/25    PageID.2587        Page
                                          47 of45
                                                116



      Your Google Account
      If you meet these age requirements you can create a Google Account for your
      convenience. Some services require that you have a Google Account in order to work —
      for example, to use Gmail, you need a Google Account so that you have a place to send
      and receive your email.


      You’re responsible for what you do with your Google Account, including taking
      reasonable steps to keep your Google Account secure, and we encourage you to regularly
      use the Security Checkup.




      Using Google services on behalf of an organization or
      business
      Many organizations, such as businesses, non-pro ts, and schools, take advantage of our
      services. To use our services on behalf of an organization:


           an authorized representative of that organization must agree to these terms


           your organization’s administrator may assign a Google Account to you. That
           administrator might require you to follow additional rules and may be able to access
           or disable your Google Account.




      Service-related communications
      To provide you with our services, we sometimes send you service announcements and
      other information. To learn more about how we communicate with you, see Google’s
      Privacy Policy.


      If you choose to give us feedback, such as suggestions to improve our services, we may
      act on your feedback without obligation to you.




                                                   D11
Case 3:24-cv-01077-RSH-MMP            Document 145-2         Filed 01/03/25       PageID.2588        Page
                                           48 of 116
                                                   46




      Content in Google services


      Your content
      Some of our services allow you to generate original content. Google won’t claim
      ownership over that content.


      Some of our services give you the opportunity to make your content publicly available —
      for example, you might post a product or restaurant review that you wrote, or you might
      upload a blog post that you created.


           See the Permission to use your content section for more about your rights in your
           content, and how your content is used in our services


           See the Removing your content section to learn why and how we might remove user-
           generated content from our services


      If you think someone is infringing your intellectual property rights, you can send us notice
      of the infringement and we’ll take appropriate action. For example, we suspend or close
      the Google Accounts of repeat copyright infringers as described in our Copyright Help
      Center.




      Google content
      Some of our services include content that belongs to Google — for example, many of the
      visual illustrations you see in Google Maps. You may use Google’s content as allowed by
      these terms and any service-speci c additional terms, but we retain any intellectual
      property rights that we have in our content. Don’t remove, obscure, or alter any of our
      branding, logos, or legal notices. If you want to use our branding or logos, please see the
      Google Brand Permissions page.




                                                   D12
Case 3:24-cv-01077-RSH-MMP            Document 145-2          Filed 01/03/25       PageID.2589      Page
                                           49 of47
                                                 116



      Other content
      Finally, some of our services give you access to content that belongs to other people or
      organizations — for example, a store owner’s description of their own business, or a
      newspaper article displayed in Google News. You may not use this content without that
      person or organization’s permission, or as otherwise allowed by law. The views expressed
      in other people or organizations’ content are theirs, and don’t necessarily re ect Google’s
      views.




      So ware in Google services
      Some of our services include downloadable or preloaded software. We give you
      permission to use that software as part of the services.


      The license we give you is:


           worldwide, which means it’s valid anywhere in the world


           non-exclusive, which means that we can license the software to others


           royalty-free, which means there are no monetary fees for this license


           personal, which means it doesn’t extend to anyone else


           non-assignable, which means you’re not allowed to assign the license to anyone else


      Some of our services include software that’s offered under open source license terms that
      we make available to you. Sometimes there are provisions in the open source license that
      explicitly override parts of these terms, so please be sure to read those licenses.




                                                   D13
Case 3:24-cv-01077-RSH-MMP            Document 145-2          Filed 01/03/25       PageID.2590      Page
                                           50 of48116
      You may not copy, modify, distribute, sell, or lease any part of our services or software.




      In case of problems or disagreements


      Warranty disclaimer
      We built our reputation on providing useful, reliable services like Google Search and Maps,
      and we’re continuously improving our services to meet your needs. However, for legal
      purposes, we offer our services without warranties unless explicitly stated in our service-
      speci c additional terms. The law requires that we explain this using speci c legal
      language and that we use capital letters to help make sure you see it, as follows:


      TO THE EXTENT ALLOWED BY APPLICABLE LAW, WE PROVIDE OUR SERVICES “AS IS”
      WITHOUT ANY EXPRESS OR IMPLIED WARRANTIES, INCLUDING THE IMPLIED
      WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, AND
      NON-INFRINGEMENT. FOR EXAMPLE, WE DON’T MAKE ANY WARRANTIES ABOUT THE
      CONTENT OR FEATURES OF THE SERVICES, INCLUDING THEIR ACCURACY, RELIABILITY,
      AVAILABILITY, OR ABILITY TO MEET YOUR NEEDS.


      DON’T RELY ON THE SERVICES FOR MEDICAL, LEGAL, FINANCIAL, OR OTHER
      PROFESSIONAL ADVICE. ANY CONTENT REGARDING THOSE TOPICS IS PROVIDED FOR
      INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR ADVICE FROM A
      QUALIFIED PROFESSIONAL.




      Liabilities

      For all users

                                                   D14
Case 3:24-cv-01077-RSH-MMP             Document 145-2           Filed 01/03/25        PageID.2591         Page
                                                49116
                                            51 of
      Both the law and these terms try to strike a balance as to what you or Google can claim
      from the other in case of problems. That’s why the law requires everyone to be
      responsible for certain liabilities — but not others — under these terms.


      These terms only limit our responsibilities as allowed by applicable law. These terms don’t
      limit liability for gross negligence or willful misconduct.


      To the extent allowed by applicable law:


           Google is liable only for its breaches of these terms or applicable service-speci c
           additional terms


           Google isn’t liable for:


                    loss of pro ts, revenues, business opportunities, goodwill, or anticipated
                    savings


                    indirect or consequential losses


                    punitive damages


           Google’s total liability arising out of or relating to these terms is limited to the greater
           of (1) $200 or (2) the fees paid to use the relevant services in the 12 months before
           the dispute




      For business users and organizations only
      If you’re a business user or organization:


           To the extent allowed by applicable law, you’ll indemnify Google and its directors,
           o cers, employees, and contractors for any third-party legal proceedings (including
           actions by government authorities) arising out of or relating to your unlawful use of
           the services or violation of these terms or service-speci c additional terms. This
           indemnity covers any liability or expense arising from claims, losses, damages,
           judgments, nes, litigation costs, and legal fees.


           If you’re legally exempt from certain responsibilities, including indemni cation, then
           those responsibilities don’t apply to you under these terms. For example, the United
           Nations enjoys certain immunities from legal obligations and these terms don’t
           override those immunities.



                                                   D15
Case 3:24-cv-01077-RSH-MMP             Document 145-2          Filed 01/03/25        PageID.2592      Page
                                                50116
                                            52 of



      Taking action in case of problems
      Before taking action as described below, we’ll provide you with advance notice when
      reasonably possible, describe the reason for our action, and give you an opportunity to
      clarify the issue and address it, unless doing so would:


           cause harm or liability to a user, third party, or Google


           violate the law or a legal enforcement authority’s order


           compromise an investigation


           compromise the operation, integrity, or security of our services




      Removing your content
      If any of your content (1) breaches these terms, service-speci c additional terms or
      policies, (2) violates applicable law, or (3) could harm our users, third parties, or Google,
      then we reserve the right to take down some or all of that content in accordance with
      applicable law. Examples include child pornography, content that facilitates human
      tra cking or harassment, terrorist content, and content that infringes someone else’s
      intellectual property rights.




      Suspending or terminating your access to Google services
      Without limiting any of our other rights, Google may suspend or terminate your access to
      the services or delete your Google Account if any of these things happen:


           you materially or repeatedly breach these terms, service-speci c additional terms or
           policies


           we’re required to do so to comply with a legal requirement or a court order


           your conduct causes harm or liability to a user, third party, or Google — for example,
           by hacking, phishing, harassing, spamming, misleading others, or scraping content
           that doesn’t belong to you




                                                   D16
Case 3:24-cv-01077-RSH-MMP             Document 145-2          Filed 01/03/25        PageID.2593     Page
                                                51116
                                            53 of
      For more information about why we disable accounts and what happens when we do,
      see this Help Center page. If you believe your Google Account has been suspended or
      terminated in error, you can appeal.


      Of course, you’re always free to stop using our services at any time. If you do stop using a
      service, we’d appreciate knowing why so that we can continue improving our services.




      Se ling disputes, governing law, and courts
      For information about how to contact Google, please visit our contact page.


      California law will govern all disputes arising out of or relating to these terms, service-
      speci c additional terms, or any related services, regardless of con ict of laws rules.
      These disputes will be resolved exclusively in the federal or state courts of Santa Clara
      County, California, USA, and you and Google consent to personal jurisdiction in those
      courts.




      About these terms
      By law, you have certain rights that can’t be limited by a contract like these terms of
      service. These terms are in no way intended to restrict those rights.


      These terms describe the relationship between you and Google. They don’t create any
      legal rights for other people or organizations, even if others bene t from that relationship
      under these terms.


      We want to make these terms easy to understand, so we’ve used examples from our
      services. But not all services mentioned may be available in your country.


      If these terms con ict with the service-speci c additional terms, the additional terms will
      govern for that service.

                                                    D17
Case 3:24-cv-01077-RSH-MMP              Document52
                                                 145-2          Filed 01/03/25        PageID.2594      Page
                                             54 of 116
      If it turns out that a particular term is not valid or enforceable, this will not affect any
      other terms.


      If you don’t follow these terms or the service-speci c additional terms, and we don’t take
      action right away, that doesn’t mean we’re giving up any rights that we may have, such as
      taking action in the future.


      We may update these terms and service-speci c additional terms (1) to re ect changes in
      our services or how we do business — for example, when we add new services, features,
      technologies, pricing, or bene ts (or remove old ones), (2) for legal, regulatory, or security
      reasons, or (3) to prevent abuse or harm.


      If we materially change these terms or service-speci c additional terms, we’ll provide you
      with reasonable advance notice and the opportunity to review the changes, except (1)
      when we launch a new service or feature, or (2) in urgent situations, such as preventing
      ongoing abuse or responding to legal requirements. If you don’t agree to the new terms,
      you should remove your content and stop using the services. You can also end your
      relationship with us at any time by closing your Google Account. If you close your Google
      Account and then access or use our services without an account, that access and use will
      be subject to the most current version of these terms.




      DEF IN ITION S




      a liate
      An entity that belongs to the Google group of companies, which means Google LLC and
      its subsidiaries, including the following companies that provide consumer services in the
      EU: Google Ireland Limited, Google Commerce Limited, and Google Dialer Inc.




      business user
      An individual or entity who is not a consumer (see consumer).


                                                     D18
Case 3:24-cv-01077-RSH-MMP            Document 145-2          Filed 01/03/25       PageID.2595     Page
                                               53116
                                           55 of


      consumer
      An individual who uses Google services for personal, non-commercial purposes outside of
      their trade, business, craft, or profession. (See business user)




      copyright
      A legal right that allows the creator of an original work (such as a blog post, photo, or
      video) to decide if and how that original work may be used by others, subject to certain
      limitations and exceptions (such as “fair use” and “fair dealing”).




      disclaimer
      A statement that limits someone’s legal responsibilities.




      indemnify or indemnity
      An individual or organization’s contractual obligation to compensate the losses suffered
      by another individual or organization from legal proceedings such as lawsuits.




      intellectual property rights (IP rights)
      Rights over the creations of a person’s mind, such as inventions (patent rights); literary
      and artistic works (copyright); designs (design rights); and symbols, names, and images
      used in commerce (trademarks). IP rights may belong to you, another individual, or an
      organization.




      liability
      Losses from any type of legal claim, whether the claim is based on a contract, tort
      (including negligence), or other reason, and whether or not those losses could have been
      reasonably anticipated or foreseen.



                                                   D19
Case 3:24-cv-01077-RSH-MMP            Document 145-2         Filed 01/03/25        PageID.2596      Page
                                           56 of54
                                                 116


      organization
      A legal entity (such as a corporation, non-pro t, or school) and not an individual person.




      services
      The Google services that are subject to these terms are the products and services listed at
      https://policies.google.com/terms/service-speci c, including:


           apps and sites (like Search and Maps)


           platforms (like Google Shopping)


           integrated services (like Maps embedded in other companies’ apps or sites)


           devices and other goods (like Google Nest)


      Many of these services also include content that you can stream or interact with.




      trademark
      Symbols, names, and images used in commerce that are capable of distinguishing the
      goods or services of one individual or organization from those of another.




      warranty
      An assurance that a product or service will perform to a certain standard.




      your content
      Things that you create, upload, submit, store, send, receive, or share using our services,
      such as:


           Docs, Sheets, and Slides you create


                                                  D20
Case 3:24-cv-01077-RSH-MMP            Document 145-2
                                               55          Filed 01/03/25   PageID.2597   Page
                                           57 of 116
          blog posts you upload through Blogger


          reviews you submit through Maps


          videos you store in Drive


          emails you send and receive through Gmail


          pictures you share with friends through Photos


          travel itineraries that you share with Google




                                                 D21
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2598   Page
                                      56116
                                  58 of




                        EXHIBIT E




                                    Exh. E1
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2599   Page
                                  59 of 116
                                      57




                                      E2
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2600   Page
                                  60 of58
                                        116




                                     E3
Case 3:24-cv-01077-RSH-MMP            59
                             Document 145-2   Filed 01/03/25   PageID.2601   Page
                                  61 of 116




                                    Exh. F1
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2602   Page
                                  62 of60
                                        116




                                      F2
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      61      Filed 01/03/25   PageID.2603   Page
                                  63 of 116




                                   Exh. G1
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      62      Filed 01/03/25   PageID.2604   Page
                                  64 of 116




                                      G2
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2605   Page
                                  65 of63
                                        116




                                      G3
Case 3:24-cv-01077-RSH-MMP            64
                             Document 145-2   Filed 01/03/25   PageID.2606   Page
                                  66 of 116




                                      G4
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2607   Page
                                      65116
                                  67 of




                                     G5
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      66      Filed 01/03/25   PageID.2608   Page
                                  68 of 116




                                     G6
Case 3:24-cv-01077-RSH-MMP   Document 145-2   Filed 01/03/25   PageID.2609   Page
                                  69 of67
                                        116




                                     G7
Case 3:24-cv-01077-RSH-MMP            68
                             Document 145-2   Filed 01/03/25   PageID.2610   Page
                                  70 of 116




                                     G8
Case 3:24-cv-01077-RSH-MMP            69
                             Document 145-2   Filed 01/03/25   PageID.2611   Page
                                  71 of 116




                                     G9
Case 3:24-cv-01077-RSH-MMP            70
                             Document 145-2   Filed 01/03/25   PageID.2612   Page
                                  72 of 116




                                    Exh. H1
12/1/24, 3:46 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - Follow Filed
                                                                             up to Business Proﬁle query PageID.2613
                                                                                     01/03/25            [0-3497000036552]          Page
                                                                  73 of71
                                                                        116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  Follow up to Business Profile query [0-3497000036552]
  5 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Fri, May 31, 2024 at 6:56
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hi Aynur,

    Greetings for the day! I hope you are doing well.

    I am Naveen from the Google Business Profile Support team.

    This is an email regarding your business profile Accura Law Firm, where you have a concern related to the search
    results, removing of a profile and reviewing details. I apologize for the inconvenience this has caused you. I will try my
    best to help you with your concern.

    Firstly, regarding the removal of the profile Accura Advokatpartnerselskab, Alexandriagade 8, 2150 Nordhavn,
    Denmark. I understand that this profile is appearing upon searching for your business profile. I can understand how
    important it is for you to have the correct web presence as it would help you to reach your potential customers. In this
    situation I would request you to kindly submit the feedback related to the business profile so that our specialist team
    can review your details thoroughly. Once approved they would be able to take the necessary action.

    Moreover, regarding the better search results of your business profile I would request you to kindly follow the
    optimization process which we have shared in the previous email. With millions of businesses registered with us,
    competition is inevitable. A strong web presence is key, and higher traffic and clicks can greatly enhance it. Photos
    play a crucial role in making a business appear more presentable, thus attracting potential clients. This
    interconnectedness is influenced by the Google algorithm, and it's important to note that we can't manually add labels
    to Google Maps. Once you start optimizing your profile with the latest contents like photos, videos, posts etc on a
    regular basis you will see a great change in the search ranking of the business profile.

    Lastly, regarding the profile showing under review for a few details. I would like to inform you that you are getting
    Google updates. Google is a collaborative platform, users can make suggestions and Google can update profiles at
    any time. Google-updated info shows live on Maps, Search, and other Google services. You can choose to accept,
    discard and replace, or edit Google updates.

    Therefore, to correctly update your details, we would request you to discard those updates first. To discard the
    updates you can follow the steps mentioned below:

            Login to the business profile manager
            Select the checkbox displaying on the left hand side of the business name.
            You will get the action button on the right hand side which you need to select.
            Select the option "discard".

    We really appreciate your patience and understanding in this matter. I hope this information helps.

    If you'd like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Sincerely,
    Naveen

                      Help Center                                       Community                                     YouTube

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further

https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800576747807941596&simpl=msg-f:1800576747807941596&si…   1/3
                                                                        H2
                                                                       72
12/1/24, 3:46 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - Follow Filed
                                                                             up to Business Proﬁle query PageID.2614
                                                                                     01/03/25            [0-3497000036552]          Page
                                                         74 of 116
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                                 Fri, May 31, 2024 at 3:12 PM
  To: googlebusinessprofile-support@google.com

    Hi Naveen,


    I do not know who makes what suggestions to you and if they do - this means that there is a group of people who
    want to damage my business. In terms of the Denmark company profile in San Diego - it is ridiculous that despite my
    complaints you still keep it, meaning that you are in conspiracy with the certain gangs wishing to damage my
    business. Just a reminder - you'll be sued for unethical and inappropriate handling of this issue. I do not think that I
    have to submit special feedback since I've complained a lot about the issue to you. I expect you to correct the
    situation immediately.

    Thanks ,

    Aynur
    [Quoted text hidden]



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Mon, Jun 3, 2024 at 5:45
  support@google.com>                                                                                                                   AM
  To: contact@aynurlawyers.com




    Hi Aynur,

    Greetings for the day! I hope you are doing well.

    I am Naveen from the Google Business Profile Support team.

    This is an email regarding your business profile Accura Law Firm, where you have a concern related to the search
    results and removing a profile.

    Thank you for raising this issue. We’ll route this to the specialist team to evaluate.

    While you might not receive a direct response from the specialist team, we assure you that they’ll investigate this
    issue and take appropriate action.

    [Quoted text hidden]



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Wed, Jun 5, 2024 at 9:01
  support@google.com>                                                                                                                   AM
  To: contact@aynurlawyers.com




    Hi Ayur,

    Greetings for the day! I hope you are doing well.

    I am Naveen from the Google Business Profile Support team.

    This is an email regarding your business profile Accura Law Firm, where you have a concern related to the removal
    of the profile Accura Advokatpartnerselskab, Alexandriagade 8, 2150 Nordhavn, Denmark.

    We understand how important it is for you to manage your online presence, and we apologize for any inconvenience
    this situation may be causing. Unfortunately, we do not have the capability to directly remove profiles from search
    engine results.
                                                                       H3
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800576747807941596&simpl=msg-f:1800576747807941596&si…   2/3
                                                                       73
12/1/24, 3:46 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - Follow Filed
                                                                             up to Business Proﬁle query PageID.2615
                                                                                     01/03/25            [0-3497000036552]
                                                                                                                Page
                                                       75  of 116
    However, we can assist you by submitting feedback to the search engine in question. While this does not guarantee
    immediate removal, it is a step in the right direction and often helps to address such concerns.
    [Quoted text hidden]



  no-reply@google.com <no-reply@google.com>                                                                     Fri, Jun 7, 2024 at 9:53 AM
  To: contact@aynurlawyers.com


    Hi,

    Thank you for contacting Google Support.

    We hope we were able to resolve your problem to your satisfaction. Please take a minute to answer a quick survey
    below about your experience with us so we can improve our service.


       Take Survey

    Thank you




                                                                       H4
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800576747807941596&simpl=msg-f:1800576747807941596&si…   3/3
12/1/24, 3:47 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade Mail
                                                Document        145-2- [1-7747000036761] Your Business Proﬁle
                                                                              Filed 01/03/25                  support inquiry
                                                                                                        PageID.2616                 Page
                                                                  76 of74116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  [1-7747000036761] Your Business Profile support inquiry
  2 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                              Wed, Jun 26, 2024 at 12:54
  support@google.com>                                                                                                                  PM
  To: contact@aynurlawyers.com




    Hi.

    Thank you for contacting us about your Business Profile on Google. From the info you shared, we’re not sure of your
    exact issue, but here are solutions to the most common issues:

            Check your verification status
                 Learn how to verify your business.

            Fix suspended Business Profiles. We may suspend Business Profiles that violate our guidelines.
                  Learn more about our guidelines for representing your business on Google.
                  Fix a suspended Business Profile.

            Make, manage, or request ownership of a profile
                  If you need a new Business Profile, sign up. Learn how to get started.
                  Learn how to manage your Business Profile directly on Google.
                  If you manage an existing profile, request ownership from the current profile owner.

            Edit or delete your profile
                   Owner edits: If you're signed up and verified, edit your business info, like your business hours or phone
                   number.
                   User contributions: If there’s an issue with a profile you don’t own or manage, suggest edits.
                   Pending edits: If your phone number edit is pending for more than 2 business days, reply to this email.
                   Delete a Business Profile: Learn how to remove one or more Business Profiles from your account.

            Manage reviews on your profile
                 Reply to reviews: Interact with your customers through reviews.
                 Remove reviews: Request removal of reviews that violate our policies.
                 Missing reviews: Frequently, we remove reviews for policy violations. Also, reviews can be missing
                 from a Business Profile after reinstatement. Learn more about missing and delayed reviews.

    For more info about your Business Profile, we recommend our Help Center, Help Community, and YouTube channel.

    If you still need help, reply to this email. We're glad to assist.

    Thanks,

    The Google Business Profile support team

                Help Center                        Ask Experts                       Twitter                        Facebook

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                               Wed, Jun 26, 2024 at 1:16 PM
  To: googlebusinessprofile-support@google.com                        H5
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1802954800725277712&simpl=msg-f:1802954800725277712&si…   1/2
                                                                       75
12/1/24, 3:47 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade Mail
                                                Document        145-2- [1-7747000036761] Your Business Proﬁle
                                                                              Filed 01/03/25                  support inquiry
                                                                                                        PageID.2617                 Page
                                                                  77 of 116
    My google page was verified by you a couple of months ago and I sent you a video you requested for verification.
    Today I've found that it is unverified again. May I know the reason ? Could you please return it back to its verified
    status?

    Also, may I ask you to remove 4 fake reviews which were placed in my account today ? None of them are from my
    clients.


    Thanks,

    Aynur
    [Quoted text hidden]




                                                                         H6
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1802954800725277712&simpl=msg-f:1802954800725277712&si…   2/2
                                                                       76
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2618               Page
                                                                  78 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  Follow up to your Business Profile query [0-3497000036552]
  6 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                               Thu, May 30, 2024 at 7:54
  support@google.com>                                                                                                                  AM
  To: contact@aynurlawyers.com




    Hi Aynur,

    Greetings, I am Amit from the Google Business Profile Support team! Thank you for contacting us.

    This email is regarding the business profile Accura Law Firm, wherein you are concerned about the visibility of the
    Business profile. I sincerely apologize for the inconvenience.

    Thank you for contacting us about the search results on Google Search and Maps. Here are some tips and resources
    that may be helpful.

    Keep in mind that these can’t affect your profile’s search ranking in any way.

    Step 1: Find your profile
            If you can find your Business Profile on Google Maps and Search: Proceed to the next step.
            If you made a Business Profile, but it doesn’t show on Google Maps or Search:
                   Your profile may have an issue.
                   There are steps that you might have missed.
                   You must verify your business.
                   Your business info must be updated to follow our guidelines.

    Learn how to find your business.

    Step 2: Try tips to help improve results
    How rankings work
    Results for a local business depend mainly on relevance, distance, and prominence. These factors help find the best
    match for each search.

            Relevance: Refers to how well your business profile matches what someone searches for.
            Distance: Consider how far your business is from where we believe the user is based on their search terms or
            other info.
            Prominence: Refers to how well known your business is. Positive reviews and ratings may help your business
            to be more prominent.

    For example, our algorithms could show that a farther business matches your search better than what is closer. In that
    case, the farther business ranks higher. Learn more about rankings.

    Tips for rankings
            Enter complete info and keep it up to date
            Complete, updated info can help match more searches. Add as many details as possible. The more a user
            knows about your business, the more likely they are to know whether you have what they need. You need to
            show:
                  What you offer.
                  What sets your business apart.
                  Your history.
                  The correct category for your business.
                  Your contact info and hours.
                  The features you offer like complimentary Wi-Fi or outdoor seating.
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   1/6
                                                                        H7
                                                                       77
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2619
                                                                                                                 Page
                                                          79 of 116
    Tip: Give your profile time. Results depend partly on how prominent your business is on the web. Learn how to update
    your profile.

            Manage and respond to reviews
                   When you respond to reviews, you show that you value your users. Learn more about reviews on
                   Google.
            Add photos
                   Accurate and appealing photos help show potential customers that you have what they want. If you
                   don’t have the time or ability to take good photos, find someone who can help. Recent photos typically
                   drive more clicks. Learn how to add local business photos.
            Try Insights
                   Insights tells you how your users use Search and Maps to find your profile, and what they do when they
                   find it. Learn more about Insights.
            Make your profile noticeable
                   Learn how to optimize your presence online.
                   To avoid common problems, learn how to represent your business.

    If you'd like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center. Within 48 hours of our last interaction, you'll receive a short survey via email.
    We'd love to hear your feedback about our interaction today and your overall experience with Google Support.

    Regards,
    Amit


                       Help Center                                      Community                                     YouTube

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, May 30, 2024 at 8:01 AM
  To: googlebusinessprofile-support@google.com

    Listen, stop making excuses and take off Denmark business profile from google search on computers for San Diego
    and California area. My business is verified and I have no problems finding it during mobile search. Denmark profile
    was not visible in San Diego when I had my previous name of the company, it appeared only after I took the same
    name - it’s done intentionally by your staff to damage my business and confuse consumers, which is a violation of
    law.

    Please, remove it immediately.



    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, May 30, 2024 at 8:55 AM
  To: googlebusinessprofile-support@google.com

                                                                       H8
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   2/6
                                                                       78
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2620               Page
                                                                  80 of 116
    Status of my business profile shows that it is verified. May I know why my business profile on my computer shows that
    it is still under review ? Who in your staff is doing that ? Please see enclosed screenshot.




https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   3/6
                                                                       H9
                                                                       79
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2621               Page
                                                                  81 of 116


    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.


    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, May 30, 2024 at 8:57 AM
  To: googlebusinessprofile-support@google.com

    I am sorry I sent you a wrong attachment. Please see it now.

    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, May 30, 2024 at 8:58 AM
  To: googlebusinessprofile-support@google.com

    This is how my profile looks like on the computer while it’s absolutely normal on a mobile device.

    Respectfully,

    Aynur Baghirzade, Esq.




                                                                       H10
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   4/6
                                                                        80
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2622               Page
                                                                  82 of 116




    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, May 30, 2024 at 9:00 AM
  To: googlebusinessprofile-support@google.com


    And this is the business profile of the Denmark company you show in San Diego area, while its is not present here.
    May I know why ? Could I know the name of the people who did it to my business ?




                                                                        H11
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   5/6
                                                                        81
12/1/24, 3:44 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2          to your Business
                                                                                       01/03/25 Proﬁle query [0-3497000036552]
                                                                                                          PageID.2623               Page
                                                                  83 of 116




    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.


    [Quoted text hidden]




                                                                        H12
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800489805391384561&simpl=msg-f:1800489805391384561&si…   6/6
                                                                        82
12/1/24, 3:40 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade Mail
                                                Document        145-2- [0-3497000036552] Your Business Proﬁle
                                                                              Filed 01/03/25                  support inquiry
                                                                                                        PageID.2624                 Page
                                                                  84 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  [0-3497000036552] Your Business Profile support inquiry
  2 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                             Wed, May 29, 2024 at 11:00
  support@google.com>                                                                                                                 PM
  To: contact@aynurlawyers.com




    Hi.

    Thank you for contacting us about your Business Profile on Google. From the info you shared, we’re not sure of your
    exact issue, but here are solutions to the most common issues:

            Check your verification status
                 Learn how to verify your business.

            Fix suspended Business Profiles. We may suspend Business Profiles that violate our guidelines.
                  Learn more about our guidelines for representing your business on Google.
                  Fix a suspended Business Profile.

            Make, manage, or request ownership of a profile
                  If you need a new Business Profile, sign up. Learn how to get started.
                  Learn how to manage your Business Profile directly on Google.
                  If you manage an existing profile, request ownership from the current profile owner.

            Edit or delete your profile
                   Owner edits: If you're signed up and verified, edit your business info, like your business hours or phone
                   number.
                   User contributions: If there’s an issue with a profile you don’t own or manage, suggest edits.
                   Pending edits: If your phone number edit is pending for more than 2 business days, reply to this email.
                   Delete a Business Profile: Learn how to remove one or more Business Profiles from your account.

            Manage reviews on your profile
                 Reply to reviews: Interact with your customers through reviews.
                 Remove reviews: Request removal of reviews that violate our policies.
                 Missing reviews: Frequently, we remove reviews for policy violations. Also, reviews can be missing
                 from a Business Profile after reinstatement. Learn more about missing and delayed reviews.

    For more info about your Business Profile, we recommend our Help Center, Help Community, and YouTube channel.

    If you still need help, reply to this email. We're glad to assist.

    Thanks,

    The Google Business Profile support team

                Help Center                        Ask Experts                       Twitter                        Facebook

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                             Wed, May 29, 2024 at 11:06 PM
  To: googlebusinessprofile-support@google.com                          H13
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800456219928705738&simpl=msg-f:1800456219928705738&si…   1/2
                                                                       83
12/1/24, 3:40 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade Mail
                                                Document        145-2- [0-3497000036552] Your Business Proﬁle
                                                                              Filed 01/03/25                  support inquiry
                                                                                                        PageID.2625                 Page
                                                                  85 of 116
    Hi,

    I was clear in my message to you. You show Denmark law firm under similar name ACCURA LAW FIRM for search
    results in California, while this law firm is not present here. At the same time you do not show my profile in google
    search results on laptops ( on mobile phones it comes up). My business status shows that it is verified and I have
    fictitious name registration under name ACCURA LAW FIRM active in San Diego, so I don’t understand why you still
    keep my google profile hidden in google search results in California and show completely different profile in
    geographically completely different area.

    Please, fix it immediately!


    Aynur Baghirzade, Esq.


    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]




                                                                       H14
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1800456219928705738&simpl=msg-f:1800456219928705738&si…   2/2
                                                                        84
12/1/24, 6:24 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2626                   Page
                                                                  86 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  [1-7747000036761] Follow up to Business Profile query
  6 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                Thu, Jun 27, 2024 at 8:05
  support@google.com>                                                                                                                   AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to the verification of your business profile “Accura Law Firm”

    Query : Verification of Google business profile.

    We do understand your concern that your profile has been verified earlier, however later due to some technical glitch it
    went under verification. Please do not worry as we are from the manual verification team we will help you with the
    verification and then we will forward regarding removing the fake reviews to the specialist team.

    Next step:

    We have already escalated the issue to our specialist team. Please allow us 24-48 business hours to get back to you
    with an update. Your patience and understanding is highly appreciated.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

                      Help Center                                       Community                                     YouTube

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, Jun 27, 2024 at 8:31 PM
  To: googlebusinessprofile-support@google.com

    Hi,


    May I know why my profile is still unverified on your platform ? If it was because of a glitch - why does it take so much
    time for you to remove it ?

    Please, return my profile back to verified and remove 4 fake reviews I complained about earlier. I can't even comment
    on them because you've made my profile unverified.


    Aynur                                                              H15
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   1/3
                                                                       85
12/1/24, 6:24 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2627                   Page
                                                                  87 of 116

    [Quoted text hidden]
    --



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Fri, Jun 28, 2024 at 4:32
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to the verification of your business profile “Accura Law Firm”

    Query : Verification of Google business profile.

    Thank you for contacting Google Business Profile support. To maintain quality business info, Google may ask a
    verified business to verify again. To continue to verify your Business, you may verify from your Business location
    through a live video call with a member of our Support team.

    Navigate to your Business Profile and follow the prompts to be verified by video. Learn how to set up a live video call.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 5:32 AM
  To: googlebusinessprofile-support@google.com

    I do not understand why I have to verify every couple of months. May I know the reason for that ?

    Also, why you haven’t deleted 4 fake reviews which are in my profile ? I asked them to be removed.


    Did you do that with the intent to keep negative reviews on my profile as long as possible ?



    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 8:15 AM
  To: googlebusinessprofile-support@google.com

    Hi,                                                                H16
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   2/3
                                                                        86
12/1/24, 6:24 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2628                   Page
                                                                  88 of 116

    I see now that my profile is verified. I reported fake reviews again for being off topic - coming not from my clients, but I
    received an email from you that they were reported as spam or unwanted content. May I know the reason why ?
    Could I also get information when you will remove those fake reviews ?

    Thanks!

    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Fri, Jun 28, 2024 at 9:59
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to your business profile “ACCURA LAW FIRM”

    Query : Verification of Google business profile.

    Congratualations for verifying the profile through the recorded video and we understand that you would like to remove
    the fake reviews from your profile, so we are forwarding your request to the concerned team and they will get back to
    you and assist you further with the process.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

    [Quoted text hidden]




                                                                       H17
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   3/3
                                                                       87
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2629              Page
                                                                  89 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  Follow up to your Business Profile query[6-7629000036725]
  7 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                Fri, Jun 28, 2024 at 11:54
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hi Aynur,

    Greetings from the Google Business Profile Support team.

    I am Rachna from the Google Business Profile Support team. I will be assisting you today.

    This email is in reference to the request which you have raised with us that you want some reviews to be removed
    from your business profile “ACCURA LAW FIRM”. I know how important it is for a business that irrelevant reviews are
    removed from their business profile. Do not worry, I will be glad to help you with the best possible resolution.

    In order for us to proceed with your concern, we request you to provide the below mentioned details :

            The name of the reviewers or screenshots of the reviews you want to get removed.

    Rest assured once you provide us the required details we will look into your issue.

    If you'd like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Sincerely,
    Rachna

                       Help Center                                      Community                                     YouTube

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Fri, Jun 28, 2024 at 12:29 PM
  To: googlebusinessprofile-support@google.com

    I reported them to you multiple times. I am surprised that you need screenshots.

    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]
                                                                       H18
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   1/10
                                                                        88
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2630              Page
                                                                  90 of 116
  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Fri, Jun 28, 2024 at 12:44 PM
  To: googlebusinessprofile-support@google.com

    These are three reviews I want to be deleted. Also, please explain why when I click on my profile as a customer I see
    my information in Russian ? I didn’t do that. My profile was set in English. Can you change it ?


    Aynur



    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.


    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Fri, Jun 28, 2024 at 12:44 PM
  To: googlebusinessprofile-support@google.com




                                                                       H19
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   2/10
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2631              Page
                                                                  91 of89
                                                                        116




                                                                        H20

https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   4/10
                                                                        90
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2632              Page
                                                                  92 of 116




    Respectfully,

    Aynur Baghirzade

    Law Ofﬁces of Aynur Baghirzade
    1968 S. Coast Hwy # 2429 Laguna Beach, CA, 92651
    Tel: 619-630-6646; E-mail: contact@aynurlawyers.com

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 6:52 PM
  To: googlebusinessprofile-support@google.com

    My settings show that my account is set up in English, May I know why do you show to the customers my profile in
    Russian ????

    See screenshots. Please, change the language immediately to English!

    Thanks,

    Respectfully,

    Aynur Baghirzade

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.
                                                                        H21
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   5/10
                                                                       91
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2633              Page
                                                                  93 of 116

    On Fri, Jun 28, 2024 at 12:29 PM Aynur Baghirzade <contact@aynurlawyers.com> wrote:
    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 6:56 PM
  To: googlebusinessprofile-support@google.com




                                                                       H22
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   6/10
                                                                        92
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2634              Page
                                                                  94 of 116




                                                                        H23
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   8/10
Case 3:24-cv-01077-RSH-MMP   Document 93
                                      145-2   Filed 01/03/25   PageID.2635   Page
                                  95 of 116




                                      H24
Case 3:24-cv-01077-RSH-MMP            95
                             Document 145-2   Filed 01/03/25   PageID.2636   Page
                                  96 of 116




                                      H25
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2637              Page
                                                                  97 of 116
                                                                       95




    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



                                                                                                                    Mon, Jul 1, 2024 at 6:45
  googlebusinessprofile-support@google.com <googlebusinessprofile-support@google.com>
                                                                                                                                         AM
  To: contact@aynurlawyers.com




    Hi Aynur,

    Greetings from the Google Business Profile Support team.

    I am Rachna from the Google Business Profile Support team. I will be assisting you today.

    This email is in reference to the request which you have raised with us that you want some reviews to be removed
    from your business profile “ACCURA LAW FIRM”. I know how important it is for a business that irrelevant reviews are
    removed from their business profile. Do not worry, I will be glad to help you with the best possible resolution.

    Thank you for your response and sharing the information with us. I would like to inform you that the review left by
    "Watch ciao" has not been flagged yet. To fix this issue, use our review management tool.

    Learn how to flag reviews using the management tool.

    In the review tool on our Help Center, you can:
                                                                        H26
            Report reviews that violate policy.
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&si…   9/10
12/1/24, 3:49 PM3:24-cv-01077-RSH-MMP
      Case                      Law Ofﬁces of Aynur Baghirzade Mail
                                                Document            - Follow upFiled
                                                                145-2           to your Business
                                                                                        01/03/25 Proﬁle query[6-7629000036725]
                                                                                                           PageID.2638              Page
            Check the status of your reports.                     98 of96116
            Appeal a mistaken decline, if needed.

    Learn how to report reviews in Google Search and Maps.

    Important: We can remove only those reviews that violate policy. We regret any inconvenience. Learn about our
    review policies.

    Issue status

    We determined that the reviews left by "Mike M and Wideopen Throttlenyc" did not violate our policies and therefore
    cannot be removed. If you believe that the review does violate our policies, you can appeal the report decision in the
    review management tool.

    Next steps

    To submit an appeal on our tool, select Check the status of a review I reported previously and then Appeal
    eligible reviews. Learn more about how to submit an appeal.

    We’ll review your appeal and reply within 3 business days through email.

    You can only appeal a review once. A declined appeal means our investigation did not find violations of our policies.
    Learn more about our policies.

    We recommend that you reply to customer reviews as customer engagement can help build trust. Learn how to reply
    to reviews.

    Furthermore, for your concern regarding the information of your profile appears in the Russian language when you
    search on Google. Upon checking, I could see that the information on your profile is going live in English only. You
    may click here to check the same.

    If you still see the information in the Russian language, kindly get back to us with the screenshot of the information
    appearing on Google and I'll assist you further.

    If you'd like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center. Within 48 hours of our last interaction, you may receive a short survey through
    email. We'd love to hear your feedback about our interaction today and your overall experience with Google Support.

    [Quoted text hidden]




                                                                      H27
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803132187288177003&simpl=msg-f:1803132187288177003&…   10/10
                                                                       97
12/1/24, 6:58 PM3:24-cv-01077-RSH-MMP
      Case                                              Law Ofﬁces of Aynur
                                                       Document        145-2Baghirzade Mail -01/03/25
                                                                                    Filed    Your report to Google
                                                                                                               PageID.2639          Page
                                                                99 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  Your report to Google
  9 messages

  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:50 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:50 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.

                                                                      H28
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803116850852368146&dsqt=1&simpl=msg-f:1803116850852368…   1/5
                                                                        98
12/1/24, 6:58 PM3:24-cv-01077-RSH-MMP
      Case                                              Law Ofﬁces of Aynur
                                                       Document        145-2Baghirzade Mail -01/03/25
                                                                                    Filed    Your report to Google
                                                                                                               PageID.2640          Page
                                                               100 of 116




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:50 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:58 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




                                                                       H29
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803116850852368146&dsqt=1&simpl=msg-f:1803116850852368…   2/5
                                                                        99
12/1/24, 6:58 PM3:24-cv-01077-RSH-MMP
      Case                                              Law Ofﬁces of Aynur
                                                       Document        145-2Baghirzade Mail -01/03/25
                                                                                    Filed    Your report to Google
                                                                                                               PageID.2641          Page
                                                               101 of 116




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:58 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:58 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




                                                                      H30
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803116850852368146&dsqt=1&simpl=msg-f:1803116850852368…   3/5
                                                                        100
12/1/24, 6:58 PM3:24-cv-01077-RSH-MMP
      Case                                              Law Ofﬁces of Aynur
                                                       Document        145-2Baghirzade Mail -01/03/25
                                                                                    Filed    Your report to Google
                                                                                                               PageID.2642          Page
                                                               102 of 116




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:58 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:59 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




                                                                        H31
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803116850852368146&dsqt=1&simpl=msg-f:1803116850852368…   4/5
                                                                       101
12/1/24, 6:58 PM3:24-cv-01077-RSH-MMP
      Case                                              Law Ofﬁces of Aynur
                                                       Document        145-2Baghirzade Mail -01/03/25
                                                                                    Filed    Your report to Google
                                                                                                               PageID.2643          Page
                                                               103 of 116




  noreply@google.com <noreply@google.com>                                                                      Fri, Jun 28, 2024 at 7:59 AM
  To: contact@aynurlawyers.com




                    Hi,

                    Thanks for flagging potential policy or legal violations on Google. We’ve received
                    your report under the following abuse category: spam or unwanted content.

                    The Google Team




                                    Google LLC. 1600 Amphitheatre Parkway, Mountain View, CA 94043
                                         This mandatory email serves as a record of your report.




                                                                       H32
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803116850852368146&dsqt=1&simpl=msg-f:1803116850852368…   5/5
                                                                        102
12/1/24, 3:48 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2644                   Page
                                                                 104 of 116

                                                                                   Aynur Baghirzade <contact@aynurlawyers.com>



  [1-7747000036761] Follow up to Business Profile query
  6 messages

  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                Thu, Jun 27, 2024 at 8:05
  support@google.com>                                                                                                                   AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to the verification of your business profile “Accura Law Firm”

    Query : Verification of Google business profile.

    We do understand your concern that your profile has been verified earlier, however later due to some technical glitch it
    went under verification. Please do not worry as we are from the manual verification team we will help you with the
    verification and then we will forward regarding removing the fake reviews to the specialist team.

    Next step:

    We have already escalated the issue to our specialist team. Please allow us 24-48 business hours to get back to you
    with an update. Your patience and understanding is highly appreciated.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

                      Help Center                                       Community                                     YouTube

     Google LLC, 1600 Amphitheatre Parkway, Mountain View,                        Google Ireland Ltd, Gordon House, Barrow Street,
     CA 94043, USA                                                                                               Dublin 4, Ireland

     This email may be confidential or privileged. If you received this communication by mistake, please don't forward it to
     anyone else, please erase all copies and attachments, and please let me know that it went to the wrong person.
     Thanks. The above terms reflect a potential business arrangement, are provided solely as a basis for further
     discussion, and are not intended to be and do not constitute a legally binding obligation. No legally binding
     obligations will be created, implied, or inferred until an agreement in final form is executed in writing by all parties
     involved.


  Aynur Baghirzade <contact@aynurlawyers.com>                                                                Thu, Jun 27, 2024 at 8:31 PM
  To: googlebusinessprofile-support@google.com

    Hi,


    May I know why my profile is still unverified on your platform ? If it was because of a glitch - why does it take so much
    time for you to remove it ?

    Please, return my profile back to verified and remove 4 fake reviews I complained about earlier. I can't even comment
    on them because you've made my profile unverified.


    Aynur                                                               H33
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   1/3
                                                                        103
12/1/24, 3:48 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2645                   Page
                                                                 105 of 116

    [Quoted text hidden]
    --



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Fri, Jun 28, 2024 at 4:32
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to the verification of your business profile “Accura Law Firm”

    Query : Verification of Google business profile.

    Thank you for contacting Google Business Profile support. To maintain quality business info, Google may ask a
    verified business to verify again. To continue to verify your Business, you may verify from your Business location
    through a live video call with a member of our Support team.

    Navigate to your Business Profile and follow the prompts to be verified by video. Learn how to set up a live video call.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 5:32 AM
  To: googlebusinessprofile-support@google.com

    I do not understand why I have to verify every couple of months. May I know the reason for that ?

    Also, why you haven’t deleted 4 fake reviews which are in my profile ? I asked them to be removed.


    Did you do that with the intent to keep negative reviews on my profile as long as possible ?



    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  Aynur Baghirzade <contact@aynurlawyers.com>                                                                  Fri, Jun 28, 2024 at 8:15 AM
  To: googlebusinessprofile-support@google.com

    Hi,                                                               H34
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   2/3
                                                                       104
12/1/24, 3:48 PM3:24-cv-01077-RSH-MMP
      Case                       Law Ofﬁces of Aynur Baghirzade145-2
                                               Document        Mail - [1-7747000036761] Follow up to Business
                                                                             Filed 01/03/25                   Proﬁle query
                                                                                                      PageID.2646                   Page
                                                                 106 of 116

    I see now that my profile is verified. I reported fake reviews again for being off topic - coming not from my clients, but I
    received an email from you that they were reported as spam or unwanted content. May I know the reason why ?
    Could I also get information when you will remove those fake reviews ?

    Thanks!

    Respectfully,

    Aynur Baghirzade, Esq.

    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.

    [Quoted text hidden]



  googlebusinessprofile-support@google.com <googlebusinessprofile-                                                 Fri, Jun 28, 2024 at 9:59
  support@google.com>                                                                                                                    AM
  To: contact@aynurlawyers.com




    Hello Aynur,

    Greetings from Google Business Profile Support. I hope you're doing well!

    This email is in reference to your business profile “ACCURA LAW FIRM”

    Query : Verification of Google business profile.

    Congratualations for verifying the profile through the recorded video and we understand that you would like to remove
    the fake reviews from your profile, so we are forwarding your request to the concerned team and they will get back to
    you and assist you further with the process.

    If you’d like more help on this issue, reply to this email. We'll be happy to help! For help with other issues, you can
    always reach us via our Help Center.

    Have a great day!

    Regards,

    Sandeep

    [Quoted text hidden]




                                                                       H35
https://mail.google.com/mail/u/0/?ik=69aaea2854&view=pt&search=all&permthid=thread-f:1803027224289121863&simpl=msg-f:1803027224289121863&si…   3/3
Case 3:24-cv-01077-RSH-MMP             105
                             Document 145-2    Filed 01/03/25   PageID.2647   Page
                                  107 of 116




                                       Exh. I1
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2648   Page
                                  108 of 116




                                     I2
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2649   Page
                                  109107
                                      of 116




                                       I3
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2650   Page
                                  110 of 116


                                    108




                                       I4
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2651   Page
                                  111 of 116


                                     109




                                       I5
Case 3:24-cv-01077-RSH-MMP   Document 145-2    Filed 01/03/25   PageID.2652   Page
                                      110
                                  112 of 116




                                      I6
Case 3:24-cv-01077-RSH-MMP   Document 145-2
                                      111      Filed 01/03/25   PageID.2653   Page
                                  113 of 116




                                     Exh. J1
                                                                             112
12/15/24,
      Case6:02 PM
                3:24-cv-01077-RSH-MMPLaw Ofﬁces of Aynur Baghirzade
                                          Document        145-2 MailFiled
                                                                    - Manipulated pictures in Google
                                                                           01/03/25                  results
                                                                                                PageID.2654             Page
                                                                      114 of 116

                                                                                    Aynur Baghirzade <contact@aynurlawyers.com>



  Manipulated pictures in Google results
  1 message

  Aynur Baghirzade <contact@aynurlawyers.com>                                                         Thu, Nov 7, 2024 at 11:53 PM
  To: "Hakun, Nicholas" <nhakun@wsgr.com>

    Hello Nicholas,

    Since your client was put on notice last time when I amended my complaint by adding claim of false light I would
    request him to take down all my manipulated pics from Google results. Otherwise, I will have to add this claim as to
    your client in my next amendment. Using my photos and manipulating them is a violation of both my copyright and
    privacy rights.


    Thank you,

    Respectfully,

    Aynur Baghirzade, Esq.


    CONFIDENTIAL COMMUNICATION
    E-mails from this ﬁrm normally contain conﬁdential and privileged material, and are for the sole use of the
    intended recipient. Use or distribution by an unintended recipient is prohibited and may be a violation of law. If you
    believe that you received this e-mail in error, please do not read this e-mail or any attached items, please delete the e-
    mail and all attachments, including any copies thereof, and inform the sender that you have deleted the e-mail, all
    attachments and copies thereof.




                                                                             J2
ﬁle:///Users/aynurbaghirzade/Documents/ANCA's motion to dismiss/Hakun Letter.html                                                1/1
Case 3:24-cv-01077-RSH-MMP            113
                             Document 145-2    Filed 01/03/25   PageID.2655   Page
                                  115 of 116




                                    Exh. K1
Thanks for your message - Square case #100800259                                                        https://mail.yandex.ru/u2709/print?mid=187743809466009372&_uid=...
              Case 3:24-cv-01077-RSH-MMP                                                      114
                                                                                    Document 145-2              Filed 01/03/25          PageID.2656                Page
                                                                                         116 of 116
         Thanks for your message - Square case #100800259

         10 ноября 2024 г., 19:27
         От кого: ÇSquareÈ <square@help-messaging.squareup.com>
         Кому: attorneysuccess@yandex.ru

           Square NotiÞcation for Case #: 100800259
           Case Updated: 11/10/2024




           Thank you for contacting Square's Account Services Team.

           We are committed to responding by the next business day, so you will hear back from us soon. We take all matters regarding your funds very seriously, and with
           your cooperation we anticipate a quick resolution of your case.

           Please be sure to attach any requested documentation to this email thread. If you are replying from an e-mail address that is different from what you use to sign in to
           your Square account, please include that e-mail address in your correspondence.

           In the meantime, feel free to return to the Square Support Center for answers to frequently asked questions.


           Your message to Square Account Services is referenced below this line:



           Subject: Alert from Square, Inc. Please Read
           Email Message:
           You hold my funds for about a week now under various excuses. Please pay my funds immediately. I am a licensed attorney in the State of California and my
           information is publicly available. I do not understand why I have to give you 3 months transaction information from my business accounts to get $ 150 payment for
           the consultation. I used your services before for my another bank, I changed the name of my law Þrm - I believe it is not a crime. What are you verifying if you
           have my ID and my license information ? This s absolutely ridiculous! Please, pay my money immediately or I will have to Þle a complaint for keeping my money
           with no reason for that. Aynur Baghirzade, Esq.


                                                                                          © 2024 Square, Inc.




                                                                                                 K2
1 of 1                                                                                                                                                                12/15/24, 6:18 PM
